UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
SECURITIES AND EXCHANGE
COMMISSION,

Plaintiff,                          No. 1:21-cv-01951-PAE

v.                                  ORAL ARGUMENT
                                    REQUESTED
AT&T INC., et al.,

Defendants.



                    MEMORANDUM OF LAW IN SUPPORT OF
             DEFENDANT AT&T INC.’S MOTION FOR JUDGMENT ON THE
             PLEADINGS AND MOTION FOR SUMMARY JUDGMENT
                                          TABLE OF CONTENTS

TABLE OF AUTHORITIES .......................................................................................... ii

SUMMARY OF ARGUMENT ........................................................................................ 1

FACTUAL BACKGROUND .......................................................................................... 4

   The Phaseout of Subsidies, the Decline in Handset Upgrades and
   the Market’s Understanding of These Dynamics ..................................................... 6

   The Analysts’ Updated Reports Confirm the Information Was Immaterial ......... 23

   AT&T Likewise Internally Treated EIP Sales As Earnings Neutral .................... 25

   The SEC’s Accounting Expert Confirmed the Declines Were Immaterial ............ 27

   AT&T’s Experts Provide Further Support for Summary Judgment ..................... 29

ARGUMENT AND AUTHORITIES ........................................................................... 30

   I. THE ALLEGEDLY DISCLOSED INFORMATION WAS NOT
   MATERIAL .............................................................................................................. 31

   II.    THE INFORMATION AT ISSUE WAS ALREADY PUBLIC ...................... 35

   III. DEFENDANTS DID NOT ACT WITH SCIENTER ..................................... 37

   IV.    REGULATION FD LACKS STATUTORY AUTHORITY ............................ 41

   V. REGULATION FD’S TEXT RENDERS IT INOPERABLE AND
   INEFFECTIVE AS A MATTER OF LAW .............................................................. 44

   VI.    REGULATION FD IS UNCONSTITUTIONAL............................................ 46




                                                            -i-
                                             TABLE OF AUTHORITIES

                                                                                                                                Page(s)

Cases

In re Aceto Corp. Secs. Litig.,
    2019 WL 3606745 (E.D.N.Y. Aug. 6, 2019) .......................................................................3, 32

Ashcroft v. Free Speech Coal.,
   535 U.S. 234 (2002) .................................................................................................................47

Baggett v. Bullitt,
   377 U.S. 360 (1964) .................................................................................................................49

In re Bank of Am. AIG Disclosure Secs. Litig.,
    980 F. Supp. 2d 564 (S.D.N.Y. 2013), aff’d, 566 Fed.Appx. 93 (2d. Cir. 2014) ....................39

Board of Governors of the Fed. Reserve Sys. v. Dimension Fin. Corp.,
   474 U.S. 361 (1986) .................................................................................................................42

Cent. Hudson Gas & Elec. Corp. v. Pub. Serv. Comm’n of N.Y.,
   447 U.S. 557 (1980) .................................................................................................................46

Checkosky v. SEC,
   23 F.3d 452 (D.C. Cir. 1994) (Randolph, J., writing separately) ............................................42

Chiarella v. United States,
   445 U.S. 222 (1980) .................................................................................................................43

Chipman v. Aspenbio Pharma, Inc.,
   No. 11-CV-00163 REB, 2012 WL 4069353 (D. Colo. Sept. 17, 2012) ..................................37

City of Chicago v. Morales,
    527 U.S. 41 (1999) ...................................................................................................................49

Dingee v. Wayfair Inc.,
   No. 15-CV-6941, 2016 WL 3017401 (S.D.N.Y. May 24, 2016) ............................................37

Dirks v. SEC,
   463 U.S. 646 (1983) .................................................................................................................43

ECA, Local 134 IBEW Joint Pens. Tr. of Chi. v. JP Morgan Chase Co.,
  553 F.3d 187 (2d Cir. 2009).................................................................................................3, 32

Edward J. DeBartolo Corp. v. Fla. Gulf Coast Bldg. & Constr. Trades Council,
   485 U.S. 568 (1988) .................................................................................................................49




                                                                  - ii -
Emerson v. Mutual Fund Series Trust,
  393 F. Supp. 3d 220 (E.D.N.Y. 2019) .....................................................................................35

First Nat’l Bank of Boston v. Bellotti,
    435 U.S. 765 (1978) .................................................................................................................46

In re GeoPharma, Inc. Secs. Litig.,
    411 F. Supp. 2d 434 (S.D.N.Y. 2006)......................................................................................39

Gillis v. QRX Pharma Ltd.,
    197 F. Supp. 3d 557 (S.D.N.Y. 2016) (Engelmayer, J.) ..........................................................38

Grayned v. City of Rockford,
   408 U.S. 104 (1972) .................................................................................................................49

Gregory v. ProNAi Therapeutics Inc.,
   297 F. Supp. 3d 372 (S.D.N.Y. 2018) (Engelmayer, J.), aff’d, 757 F. App’x 35
   (2d Cir. 2018) ...........................................................................................................................38

Himmel v. Bucyrus Intern., Inc.,
   No. 10-C-1104, 2014 WL 1406279 (E.D. Wisc. Apr. 11, 2014).............................................32

Kalnit v. Eichler,
   264 F.3d 131 (2d Cir. 2001).....................................................................................................39

Kuebler v. Vectren Corp.,
   No. 18-CV-00113 RLY, 2018 WL 4003626 (S.D. Ind. Aug. 22, 2018) .................................32

In re Lone Pine Res., Inc.,
    No. 12 CIV. 4839 GBD, 2014 WL 1259653 (S.D.N.Y. Mar. 27, 2014) .............................3, 32

In re Loral Space & Communs. Ltd. Secs. Litig.,
    No. 01 CIV. 4388 JGK, 2004 WL 376442 (S.D.N.Y. Feb. 27, 2004).....................................39

Loreley Fin. (Jersey) No. 3 Ltd. v. Wells Fargo Secs., LLC,
   797 F.3d 160 (2d Cir. 2015).......................................................................................................5

Malik v. Network 1 Fin. Secs., Inc.,
   No. 20-2948-CV, 2022 WL 453439 (2d Cir. Feb. 15, 2022) ..................................................39

Motion Picture Ass’n of Am., Inc. v. FCC,
   309 F.3d 796 (D.C. Cir. 2002) .................................................................................................42

Nat’l Ass’n of Mfrs. v. SEC,
   748 F.3d 359 (D.C. Cir. 2014), subsequent opinion after reh’g, 800 F.3d 518
   (D.C. Cir. 2015) .................................................................................................................46, 47




                                                                   - iii -
Nguyen v. MaxPoint Interactive, Inc.,
   234 F. Supp. 3d 540 (S.D.N.Y. 2017)......................................................................................35

Pac. Gas & Elec. Co. v. Public Utils. Comm’n of Cal.,
   475 U.S. 1 (1986) .....................................................................................................................46

Safelite Grp., Inc. v. Jepsen,
    764 F.3d 258 (2d Cir. 2014).....................................................................................................47

Sanders v. AVEO Pharm., Inc.,
   No. 13-11157-DJC, 2015 WL 1276824 (D. Mass. Mar. 20, 2015) .........................................39

SEC v. Afriyie,
   No. 16-CV-2777 JSR, 2018 WL 6991097 (S.D.N.Y. Nov. 26, 2018), aff’d,
   788 Fed.Appx. 59 (2d. Cir. 2019) ............................................................................................45

SEC v. Siebel Systems, Inc.,
   384 F. Supp. 2d 694 (S.D.N.Y. 2005)..........................................................................31, 35, 47

Speiser v. Randall,
   357 U.S. 513 (1958) .................................................................................................................49

Strougo v. Barclays PLC,
    334 F. Supp. 3d 591 (S.D.N.Y. 2018)......................................................................................30

In re Take-Two Interactive Secs. Litig.,
    551 F. Supp. 2d 247 (S.D.N.Y. 2008)......................................................................................39

Tellabs, Inc. v. Makor Issues & Rights, Ltd.,
    551 U.S. 308 (2007) .................................................................................................................38

U.S. v. Contorinis,
   692 F.3d 136 (2d Cir. 2012).....................................................................................................37

Vega v. Hempstead Union Free Sch. Dist.,
   801 F.3d 72 (2d Cir. 2015).......................................................................................................31

Rules and Statutes

15 U.S.C. § 78m(a)(1) and (2) .......................................................................................................42

Other Authorities

17 C.F.R. 243.100(b) .....................................................................................................................47

17 C.F.R. § 243.101(a)...................................................................................................................38

17 C.F.R. § 243.101(c)...................................................................................................................38



                                                                  - iv -
Antony Page and Katy Yang, Controlling Corporate Speech: Is Regulation Fair
   Disclosure Unconstitutional?, 39 U.C. Davis L. Rev. 1, 8......................................................46

Joseph A. Grundfest, Regulation FD in the Age of Facebook and Twitter: Should
   the SEC Sue Netflix? ................................................................................................................46

Susan B. Heymann, Rethinking Regulation Fair Disclosure and Corporate Free
   Speech, 36 Cardozo L. Rev. 1099, 1134 ..................................................................................46




                                                                  -v-
       Defendant AT&T Inc. (“AT&T”) respectfully submits this memorandum of law

in support of its motion for judgment on the pleadings and motion for summary

judgment. AT&T further joins and adopts the arguments in the Individual

Defendants’ summary judgment motion and memorandum.1

                                SUMMARY OF ARGUMENT

       After more than four years of investigation and more than a year of litigation,

the SEC has pled no facts and produced no evidence for a reasonable jury to conclude

that the alleged selective disclosures were material, nonpublic, or made with

scienter. The claims fail on the pleadings and evidence even if it is assumed for this

motion that AT&T’s IR personnel actually disclosed the information to analysts as

alleged in the Complaint (which they did not). In addition to seeking summary

judgment on these grounds, AT&T also seeks judgment on the pleadings, as the

Complaint pleads no facts plausibly establishing these elements.

       AT&T is also entitled to summary judgment because Regulation FD lacks

statutory authority, because Regulation FD’s circular “duty of trust and

confidence” exemption renders the rule inoperable and self-defeating as written

and as applied to this case, and because Regulation FD is unconstitutional under

the First and Fifth Amendments of the United States Constitution.




1Unless otherwise noted, all capitalized terms are as defined in the Parties’ Amended Joint Statement
of Undisputed Facts (“JSF”), all “Joint Ex.” citations refer to documents attached to Appendix A and
Appendix B of the JSF. All other citations to evidence in support of this memorandum of law will refer
to the declarations and exhibits filed by Defendants on May 3, 2022, and will refer to the name of the
declarant through whom such evidence is offered (for e.g., Krumholz Decl. __ at __ ). Defendant AT&T
Inc. will also cite to “SOF” when referring to Defendant AT&T Inc.’s Statement of Undisputed Material
Facts, filed on May 3, 2022.

                                                  1
      The alleged selective disclosures at issue in this case were immaterial.

The information allegedly disclosed – i.e., that AT&T anticipated a 15-20% year-over-

year decline in equipment revenue and a 5% upgrade rate for the first quarter of 2016

– had no significant impact on whether a reasonable investor would buy, sell, or hold

AT&T stock. It is undisputed that AT&T’s announcement of below-consensus

revenues for the prior quarter, which AT&T publicly attributed to the same declining

upgrade trend that continued in the first quarter, caused no statistically significant

impact on AT&T’s stock price. There was also no material change to analysts’

consensus first quarter 2016 EPS forecasts after the alleged selective disclosures, nor

did analysts change their price targets or buy, sell, or hold recommendations. Not a

single analyst has testified they believe they received material nonpublic information

during the calls, and none told their compliance officers or anyone else at their

employer that AT&T disclosed material nonpublic information on the calls. The

updated analyst reports published after the calls at issue likewise show the analysts

viewed the trend as profit neutral and insignificant to AT&T’s earnings.

      None of this is surprising. AT&T is not a smartphone manufacturer and

generated less than ten percent of its overall revenue at the relevant time from the

resale of smartphones. AT&T, analysts, and industry commentators treated

equipment revenue from unsubsidized smartphone sales as either profit neutral or

very low margin. Investors and consumers could readily compare the prices charged

for phones at AT&T stores and the substantially similar prices at Apple stores or

elsewhere. By any measure, reselling phones was not a core part of AT&T’s business.



                                          2
       The SEC’s own financial expert, Dominic DiBucci, conceded that, even using

his own inflated and unfounded revenue and earnings calculations (which are subject

to Defendants’ Motion to Strike filed contemporaneously with this Motion and are not

competent summary judgment evidence), the information allegedly conveyed was

well below the 5% threshold courts have found to be as presumptively immaterial

when, as here, there is no evidence of a “large” qualitative effect.2

       The allegedly disclosed information was already public. SEC expert

John Griffin admitted that the trend of declining handset upgrade rates and wireless

equipment revenue from the phaseout of smartphone subsidies was already known

to the market at the time of the alleged disclosures. That consumers would decide to

keep their old phones longer after carriers stopped subsidizing the price of new

phones is also a commonsense principle that would be familiar to consumers and

investors from their own experience having to pay $600 for a new phone instead of

$200, under the subsidy model, as subsidies and two-year contracts were eliminated.

The CFOs of both AT&T and Verizon publicly disclosed at a March 2016 Deutsche

Bank conference that they expected the same trend to continue in the first quarter

and that smartphone sales have little impact on profitability. None of the SEC’s five

experts has offered an opinion rebutting the evidence that a reasonable investor could

readily and reasonably calculate effectively the same upgrade rates from the public


2See ECA, Local 134 IBEW Joint Pens. Tr. of Chi. v. JP Morgan Chase Co., 553 F.3d 187, 204-05 (2d
Cir. 2009) (“Here, the five percent numerical threshold is a good starting place for assessing the
materiality of the alleged misstatement”); In re Aceto Corp. Secs. Litig., 2019 WL 3606745, at *4
(E.D.N.Y. Aug. 6, 2019) (less than 5% of earnings “presumed” immaterial); In re Lone Pine Res., Inc.,
No. 12 CIV. 4839 GBD, 2014 WL 1259653, at *4 (S.D.N.Y. Mar. 27, 2014) (“An omission or
misstatement that has an impact of less than 5% on a company's reported financial metrics is
presumptively immaterial”).

                                                 3
record simply by carrying forward the same year-over-year trend seen in prior

quarters that the CFOs had just conveyed. In short, the SEC has failed to produce

competent summary judgment evidence that the information at issue was nonpublic.

       No reasonable jury could find scienter. When it adopted Regulation FD,

the SEC took pains to emphasize that it would not and could not bring an enforcement

action unless the alleged selective disclosures were not only material and nonpublic,

but were made “intentionally,” which it described as a standard requiring a court or

jury to conclude that “no reasonable person under the circumstances” could believe

the disclosed information was immaterial or already public.3 The evidence plainly

establishes that, at the very least, Defendants had a reasonable basis to believe that

the information at issue was not material nonpublic information.

       Regulation FD is invalid. Defendants additionally seek summary judgment

that the SEC had no authority to adopt Regulation FD, that Regulation FD is

internally inconsistent and inoperable as a matter of law, and that Regulation FD is

unconstitutional, all of which are more fully briefed below.

                                FACTUAL BACKGROUND

       AT&T is a leading provider of communications, media, and technology

services.4 The individual Defendants in this action are three mid-level AT&T Investor

Relations (“IR”) employees.5 At the time of the events at issue in March-April 2016,

Defendant Christopher Womack was an Executive Director in AT&T’s IR



3 See Joint Ex. 13a-d, Final Rule: Selective Disclosure and Insider Trading, Exchange Act Release No.
34-43154 at ATTINC-00417471 (Aug. 15, 2000) (“Adopting Release”).
4 See JSF at ¶ 4; SOF at ¶ 1; Joint Ex. 1, 2015 ATT Form 10-K at 1.
5 See SOF at ¶ 2; JSF at ¶¶ 25, 33, 45.


                                                 4
Department, worked in AT&T’s Bedminster, New Jersey office, and had ten years of

experience working in IR.6 Defendant Kent Evans was an Associate Vice President

in AT&T’s IR Department, worked in AT&T’s Atlanta, Georgia office, and had sixteen

years of experience working in IR.7 Defendant Michael Black was a Finance Director

in AT&T’s IR Department, worked in AT&T’s Bedminster, New Jersey office, and had

five years of experience working in IR. 8 All three individual Defendants received

training on Regulation FD, including periodic updates, and were prohibited under

AT&T policy from providing internal financial information to analysts.9

        At the time of the events at issue, AT&T offered wireless communications,

data/broadband and Internet services, digital video services, local and long-distance

telephone services, telecommunications equipment, managed networking, and

wholesale services. 10 AT&T does not manufacture smartphones or other wireless

phones. 11 It resells phones manufactured by other companies, including Apple,

Samsung, and LG. 12 Wireless equipment revenue (which includes revenue from

smartphone sales as well as from tablets and other devices, and which is reported




6 JSF at ¶¶ 25-26; SOF at ¶ 3; Krumholz Decl., Ex. 1, Womack Dep. Tr. at 35:10-36:01; Womack
Answer, Dkt. No. 28 at ¶ 15; Womack Decl. at ¶¶ 2, 6.
7 JSF at ¶¶45-46; SOF at ¶ 4; Krumholz Decl., Ex. 2, Evans Dep. Tr. at 14:4-13, 27:9-14; Evans Answer,

Dkt. No. 27 at ¶ 16; Evans Decl. at ¶ 2.
8 JSF at ¶¶ 33-34; SOF at 5; Krumholz Decl., Ex. 3, Black Dep Tr. at 32:20-25, 33:13-16, Black Answer,

Dkt. No. 26 at ¶ 17; Black Decl. at 2
9 JSF at ¶¶ 30,43, 56; SOF at ¶ 92; Krumholz Decl., Ex. 1, Womack Dep. Tr. at 98:22-100:22, 104:24-

107:14; Krumholz Decl., Ex. 2, Evans Dep. Tr. at 26:16-19, 28:22-29:16; Krumholz Decl., Ex. 3, Black
Dep. Tr. at 64:8-10; Krumholz Decl., Ex. 4, Anderson Dep. Tr. at 26:15-19, 26:24-27:1, 27:25-28:7, 35:1-
8, 37:3-38:17, 64:4-14, 67:19-68:20 (errata sheet changes “public” to “nonpublic” in line 68:16); 140:24-
141:11; Womack Decl. at ¶ 4; Evans Decl. at ¶ 4; Black Decl. at ¶ 4.
10 See Joint Ex. 1, 2015 ATT Form 10-K at 1.
11 See JSF at ¶ 86; SOF at ¶ 6.
12 See JSF at ¶ 86; SOF at ¶ 6.


                                                   5
across three different business segments) represented less than ten percent of

AT&T’s total overall reported revenue for 2015 and the first quarter of 2016.13

      The Phaseout of Subsidies, the Decline in Handset Upgrades and
             the Market’s Understanding of These Dynamics

       The SEC has conceded numerous facts that individually and cumulatively

compel summary judgment in AT&T’s favor. It is undisputed that “upgrade rates”

– the percentage of existing AT&T customers who purchase new smartphones each

quarter – declined after AT&T and other carriers moved away from the smartphone-

subsidized two-year service contract model that previously dominated the wireless

industry. 14 It is likewise undisputed that actual upgrade rates and wireless

equipment revenues results are public information,15 such that investors could see

for themselves how these metrics compared on a year-over-year basis.

       It is also undisputed that the market was aware of the trends of declining

upgrade rates and equipment revenues. SEC expert John Griffin admits in his

reply report that the “downward trend” in upgrade rates and equipment revenues

“was already known to analysts” before the calls at issue in this litigation took

place.16 The upgrade rates of 5.8% and 5.7% for the second and third quarters of 2015

were undisputedly record lows.17 The upgrade rate for the fourth quarter of 2015

was undisputedly the lowest fourth-quarter upgrade rate since 2005, before the first

iPhone was launched. 18 There is also no evidence that any of the underlying


13 See JSF at ¶¶ 93-95; SOF at ¶ 6.
14 See JSF at ¶¶ 69-79; SOF at ¶ 8; Krumholz Decl., Ex. 5, Griffin Rebuttal Report at ¶ 50.
15 See JSF at ¶¶ 96-97; SOF at ¶ 9.
16 See SOF at ¶ 40; Krumholz Decl., Ex. 5, Griffin Rebuttal Report at ¶ 50 (emphasis added).
17 See JSF at ¶ 115; SOF at ¶ 42-43.
18 See JSF at ¶ 115; SOF at ¶ 44


                                                 6
conditions that produced these record low 2015 upgrade rates – including eliminating

subsidies and no major new product launch – had moved in a different direction

during the first quarter of 2016 versus the prior quarters of year-over-year decline.

       The SEC had no choice but to concede these facts given the extensive public

disclosures about the elimination of subsidies and the resulting impact on upgrades.

Before 2013, AT&T and other U.S. wireless carriers sold wireless phones

predominantly through a subsidy/fixed-contract model, in which carriers heavily

discounted the price of the phone in exchange for the customer signing a services

contract for a fixed period of time (often two years). 19 Under this subsidy model,

consumers could purchase a $600 iPhone through AT&T for approximately $200.20

This gave customers a significant incentive to upgrade their phones every two years.

       In 2013, carriers began transitioning away from this model toward an

unsubsidized “equipment installment plan” (“EIP” or “installment plans”) model in

which customers would bear the full cost of the phone in exchange for more flexible –

and cheaper – service plans. 21 AT&T introduced its unsubsidized “AT&T Next”

installment plan in July 2013.22 Other carriers introduced similar plans and phased

out subsidies. 23 The switch to unsubsidized installment plans initially caused a

temporary boost in wireless equipment revenues because the full price of the phone

(rather than the much lower subsidized price) could be recognized at the time of sale,



19 See JSF at ¶ 69; SOF at ¶ 10.
20 See JSF at ¶ 69; SOF at ¶ 10.
21 See JSF at ¶¶ 70-74; SOF at ¶ 11.
22 See JSF at ¶¶ 70-71 SOF at ¶ 12.
23 See JSF at ¶ 74; SOF at ¶ 12; see also Entner Decl., Ex. 1 at ¶ 61; Valentine Decl., Ex. 1 at ¶ 120;

Allen Decl. at ¶ 64.

                                                  7
but this boost likewise waned as the customer base transitioned to unsubsidized

installment plans, with wireless equipment revenues declining by $714 million year-

over-year in the fourth quarter of 2015.24

       There were extensive public disclosure throughout 2014, 2015, and early 2016

regarding the transition to EIP, the lack of material earnings impact from

unsubsidized EIP sales, the phenomenon of customers holding their phones longer

after subsidies were phased out, and the lower upgrade rates that resulted.25 The

disclosures show that reasonable investors would be aware smartphone upgrades

were declining, but that the decline had little impact on AT&T’s profitability.

       x       On January 16, 2015, for example, Drexel Hamilton published an
               analyst report stating that “handsets sold on financing plans,
               such as AT&T Next, are typically breakeven.”26

       x       During its 4Q 2015 earnings call on January 27, 2015, AT&T
               disclosed that “more than half of our smartphone base has
               moved off the subsidy model pricing,” with “nearly 70% of
               our postpaid base now on Mobile Share plans” and “about 58% of
               our postpaid smartphone base” on “no-subsidy pricing.”27

       x       On February 11, 2015, FierceWireless.com published an article
               stating that Verizon, AT&T, Sprint, T-Mobile, and other wireless
               carriers “have embraced” installment plans and that “[h]andset
               replacement has abruptly slowed to the lowest rate since we
               began calculating the metric.”28

       x       On April 22, 2015, AT&T disclosed that “70% of phone sales in
               the quarter didn’t carry a subsidy.”29



24 See SOF at ¶ 13; Entner Decl., Ex. 1 at ¶¶ 20(B), 85, 197; Valentine Decl., Ex. 1 at ¶ 152.
25 See JSF at ¶153; SOF at ¶ 14; Joint Ex. 29; JSF at ¶ 155; Joint Ex. 32; JSF at ¶¶ 156-163; Joint
Exs. 33–40; JSF at ¶¶ 165-169; Joint Exs. 41-45.
26 See JSF ¶ 151; Joint Ex. 157, Jan. 16, 2015 Drexel Hamilton analyst report at 2.
27 See JSF at ¶ 152; Joint Ex. 28, Jan. 27, 2015 AT&T Earnings Transcript at 4-5.
28 See JSF at ¶ 153; Joint Ex. 29, Feb. 11, 2015 Fierce Wireless article at 1-2.
29 See JSF at ¶ 154; Joint Ex. 30, AT&T 1Q 2015 Earnings Transcript at 5.


                                                8
       x       On June 1, 2015, CNET.com published an article stating that
               AT&T “on Monday began its push to get its retail partners and
               authorized third-party retailers to switch to only offering Next,”
               further cementing the move towards unsubsidized plans.30

       x       AT&T disclosed again on July 23, 2015 that “nearly three
               quarters of smartphone sales [for the second quarter of 2015]
               were without subsidies.”31

       x       A July 29, 2015, Computerworld.com article noted that AT&T had
               a “record low upgrade rate” for the second quarter.32

       x       On August 13, 2015, Money.com published an article titled “Cell
               Phone Contracts Are Dead,” which described how T-Mobile,
               AT&T, and Verizon had phased out two-year mobile phone
               contracts and noted that the elimination of subsidies gave
               consumers “a big incentive to protect that phone and squeeze
               more than just two years out of it.”33

       x       A September 10, 2015 “BeyondDevic.es” article described
               equipment revenue received by AT&T for the sale of Apple
               smartphones as “basically just pass-through revenue anyway
               and all goes on equipment costs,” and that the potential decline
               in AT&T equipment revenue from customers buying their phones
               directly from Apple will be “profit neutral” for AT&T.34

       x       On October 2, 2015, Citi published an analyst report noting that
               “Device Replacement Remains Extended.”35

       x       During its 3Q 2015 earnings call on October 22, 2015, AT&T
               publicly disclosed that “[a]bout two-thirds of our postpaid
               smartphone base” was now on “no subsidy pricing,” and that
               “[l]ower year-over-year smartphone upgrade volumes
               impacted equipment revenues.”36

       x       On December 8, 2015, AT&T’s CEO disclosed that “revenue
               trends are all kind of skewed this year by the equipment revenues


30 See JSF at ¶ 155; Joint Ex. 32, June 1, 2015 CNET.com article at 1.
31 See JSF at ¶ 157; Joint Ex. 34, July 23, 2015 AT&T Earnings Transcript at 3.
32 See JSF at ¶ 158; Joint Ex. 35, July 29, 2015 Computerworld.com article at 4.
33 See JSF at ¶ 159; Joint Ex. 36, Aug. 13, 2015 Money.com article at 2.
34 See JSF at ¶ 160; Joint Ex. 37, Sept. 10, 2015 BeyondDevic.es article at 2.
35 See JSF at ¶ 161; Joint Ex. 38, Oct. 2, 2015 Citi analyst report at 1.
36 See JSF at ¶ 163; Joint Ex. 40, Oct. 22, 2015 AT&T Earnings Transcript at 5.


                                                  9
               and obviously, our upgrade cycles on smartphones is way
               down this year. People aren’t upgrading like they have in
               the past. As we've gotten into this handset financing, that has an
               immediate hit to top-line revenues and just upgrades are not
               happening as quickly as they were, so it's causing a
               suppressive view on revenues. It’s a great profitability view, but
               it’s just equipment revenues that are really low-margin
               stuff.”37

       x       On December 8, 2015, Matthew Niknam from Deutsche Bank
               wrote that AT&T’s “[u]pgrade cycles are way down yoy [year
               over year].”38 On December 9, 2015, AT&T publicly disclosed that
               “almost 80% of our customers” were choosing Next or simply
               bringing their own device and purchasing AT&T wireless plans
               without buying a phone from AT&T.39

       x       AT&T announced in late December 2015 that it was phasing out
               nearly all remaining subsidy plan options for non-business
               customers, effective January 8, 2016.40

       x       On January 9, 2016, CNET.com reported that “[t]he era of $200
               smartphones with two-year contracts has ended” while
               noting that “[y]ou can save a lot of money, though, when you
               bring your own device to the AT&T service.”41

In addition, as Defendants’ telecommunications expert Roger Entner testified,

comparing the publicly available average revenue per iPhone that Apple received

based on its 2015 annual report on the one hand, to the publicly available prices that

the iPhones were sold by the carriers on the other hand, led to the understanding




37 See JSF at ¶ 165; Joint Ex. 41, Dec. 8, 2015 AT&T Inc. at UBS Conference Transcript at 6.
38 See JSF at ¶ 166; Joint Ex. 42, Dec. 8, 2015 Internal Deutsche Bank Email “AT&T CEO at UBS
conference”.
39 See JSF at ¶ 167; Joint Ex. 43, Dec. 9, 2015 AT&T Inc. at Barclays Conference Transcript at 5.
40 See JSF at ¶ 168-69; Joint Ex. 44, Dec. 30, 2015 Re/code article at 2; Joint Ex. 45, Dec. 30, 2015

TheVerge.com article at 2.
41 See JSF at ¶ 177; Joint Ex. 49, Jan. 9, 2016 CNET.com article at 1; see also JSF at ¶ 176; Joint Ex.

48, Jan. 8, 2016 FierceWireless.com article at 1 (similar statement.)

                                                  10
during the relevant time period that AT&T’s smartphone sales under the Next

program were largely profit neutral.42

        AT&T’s Fourth-Quarter Revenue Miss and Lack of Stock Price Impact

       On January 26, 2016, AT&T announced that while it met consensus earnings

expectations for the 4Q 2015, its 4Q 2015 revenue fell approximately $600 million

short of consensus, due largely to analysts’ overestimation of AT&T’s wireless

equipment revenue. 43 “Consensus estimates” are aggregations of various analyst

forecasts for a company for certain metrics, typically reflecting the mean of the

current forecasts provided by each individual analyst. 44 The SEC admits that

published estimates by individual analysts, as well as consensus estimates by firms

such as First Call or Bloomberg, are public information.45 AT&T also missed analysts’

consensus revenue forecasts in the first and third quarters of 2015.46

       Specifically, on January 26, 2016, AT&T disclosed “lower equipment sales”

for 2015 “as customers chose to hold onto their smartphones for a longer

period of time,” that “equipment revenues were down more than $700 million”

on a year-over-year basis, “mostly due to lower upgrade volumes,”47 and that

“total wireless revenue was impacted by lower smartphone sales. . . . Equipment




42
   See Entner Decl. at ¶ 4(a).
43 See JSF at ¶ 170; SOF at ¶ 15.
44 See JSF at ¶ 138.
45 See JSF at ¶ 138; SOF at ¶ 48.
46 See JSF at ¶¶ 164, 175; SOF at ¶ 20; Compl., Dkt. No. 1 at ¶ 35; see also Viola Decl., Ex. 1, Levy

Article; Viola Decl., Ex. 2, Villapaz Article.
47 See JSF at ¶ 171; Joint Ex. 46, AT&T Jan. 26, 2016, Earnings Call at 4, 6 (emphasis added); see

also Joint Ex. 7, Jan. 26, 2016 AT&T 4Q 2015 Financial and Operational Results at 19 (financial
results showing $700 million drop in equipment revenue for AT&T Mobility); Valentine Decl., Ex. 1 at
¶ 152.

                                                 11
revenues also were impacted by an increasing [sic] number of Bring-Your-Own-

Device subscribers. We had about 700,000 in the quarter.”48 AT&T also disclosed in

its January 26, 2016, Investor Briefing that it saw “record [Bring-Your-Own-Device]

customers” and “lower smartphone upgrade volumes” in 2015 and that “[wireless]

equipment revenues decreased 14.9% to $4.1 billion [a drop of more than $600

million], due to lower sales volumes in the quarter.”49

       The SEC concedes that despite this approximately $600 million revenue miss

versus consensus, there was no statistically significant change in AT&T’s stock

price on the first trading day after the after-hours announcement.50 The stock price

closed $0.08 higher that day – a 0.225% change that was plainly insignificant.51 The

SEC’s experts have collectively failed to cite any other surprising or countervailing

news in the January 26, 2016 announcement that would have masked a stock price

change caused by the revenue miss. As AT&T economics expert Lucy Allen opined,

the January 26, 2016 announcement provided a “natural experiment” to show

whether the market viewed declining equipment revenue as material, as AT&T

otherwise met EPS forecasts and did not change its guidance or “surprise” the market

in any other way.52 In other words, the only information identified by any expert that




48 See JSF at ¶ 171; Joint Ex. 46, AT&T Jan. 26, 2016, Earnings Call at 6 (emphasis added).
49 See JSF at ¶ 172; Joint Ex. 47, AT&T Jan. 26, 2016, Investor Briefing at 12.
50 See JSF at ¶ 173; SOF at ¶¶ 19-20.
51 See JSF at ¶ 173; SOF at ¶ 16; Krumholz Decl., Ex. 6, Griffin Dep. Tr. at 30:13-32:9; Joint Ex. 245,

AT&T Stock Price Chart.
52 See SOF at ¶ 19; Allen Decl. at ¶ 71. Both Allen and AT&T expert Allen Ferrell conducted event

studies confirming the absence of any statistically significant stock price reaction after the January
26, 2016 announcement. See Allen Decl. at ¶ 71; Ferrell Decl., Ex. 1 at ¶ 25.

                                                  12
could have surprised the market that day was the revenue miss. The market rendered

an unequivocal verdict that the information was not material.

             Additional 2016 Disclosures Regarding Lower Upgrade Rates

       AT&T continued to disclose the low-upgrade trend after the January 26, 2016

earnings announcement. For example, AT&T publicly disclosed in its February 18,

2016 Financial Review that “[i]n late December 2015, we announced an end to

offering subsidized handsets for most of our customers” and that AT&T had “fewer

upgrade transactions” in 2015.53 On March 2, 2016, AT&T Entertainment CEO John

Stankey publicly stated that many AT&T customers “are no longer thinking that they

want to upgrade [their phones] every 12 months or 18 months. They are taking care

of it. They are going, wow, this isn't a $199 device, this is a $600 device. I'd better

care for it more carefully. I'd better do some things differently with my children and

as a result of that, renewal cycles on that very capable device are extending.”54

AT&T further disclosed during the March 2, 2016 conference that handset renewal

time periods were “shifting out and it’s getting longer and I think that that is just a

trend. It's not a trend that I believe is unique to AT&T. Everything I gather

from talking to others in the industry who sell handsets and looking at what other

folks have said publicly, there's a dynamic that this is going on across the

board and I think that it's only rational as a result of that.”55 UBS likewise published




53 See JSF at ¶ 180; Joint Ex. 51a-51e, Feb. 18, 2016 AT&T Financial Review at 21.
54 See JSF at ¶ 181; Joint Ex. 113, Mar. 2, 2016 AT&T Inc. at Morgan Stanley Conference Transcript
at 9.
55 See Joint Ex. 113 at 11.


                                               13
an article on March 2, 2016, which stated that “carriers generally expect upgrade

cycles to continue to lengthen” into 2016.56

                               AT&T’s March 9, 2016 Disclosures

       As noted above, AT&T undisputedly reported record-low upgrade rates in the

second and third quarters of 2015 and the lowest fourth quarter upgrade rate in ten

years for the fourth quarter of 2015, with an approximate $700 million year-over-year

wireless equipment revenue decline that quarter.57 The upgrade rate for the second

quarter of 2015 was 5.8%, a record low, down from 6.3% year-over-year (that is,

versus the second quarter of 2014).58 The third quarter 2015 upgrade rate was 5.7%,

another record low, down 1.4% year-over-year.59 The fourth quarter 2015 upgrade

rate – which, again, was the highest of 2015 due to the historical seasonal increase

in holiday phone sales – was also down sharply versus the fourth quarter of 2014,

during which time Apple released its popular iPhone 6.60 This 4Q upgrade rate was

the lowest fourth quarter upgrade since 2005, before the iPhone was launched.61

       Despite all of these disclosures, analysts covering AT&T continued to forecast

higher upgrade rates and equipment revenues for 2016 than were reported during

2015, 62 notwithstanding the absence of any economic conditions, significant new

smartphone models, any restoration of subsidies, or other factors that would suggest



56 See JSF at ¶ 213; Joint Ex. 62, Mar. 2, 2016 UBS analyst report at 4.
57 See SOF at ¶ 42-44; Joint Ex. 7, Jan. 26, 2016 AT&T Financial and Operational Results; JSF at ¶¶
113 - 115; Joint Ex. 46, AT&T Earnings Call at 6.
58 See JSF at ¶¶ 113 – 115; SOF at ¶ 42.
59 See JSF at ¶¶ 113 – 115; SOF at ¶ 43.
60 See JSF at ¶¶ 113 – 115; SOF at ¶ 44; Entner Decl., Ex. 1 at ¶ 84.
61 See JSF at ¶ 115; SOF at ¶ 44.
62 See SOJ at ¶ 50; Compl., Dkt. No. 1 at ¶ 68.


                                                14
a reversal of the slower-upgrade trend. The analysts’ upgrade rate forecasts were all

over the map, ranging from 5.7% to 9.0%, with many forecasts exceeding the 6.6%

upgrade rate AT&T reported in the first quarter of 2015. 63 There is no evidence

plausibly explaining why analysts were forecasting higher upgrade rates other than

that analysts did not view the metric as important to their value thesis and thus did

not focus on it. As AT&T’s telecom expert Roger Entner opined, several analysts did

not include upgrade rates in their models at all, while others included them in their

models even though upgrade rates did not drive any other metrics, or in an imprecise

way that suggested an understanding that upgrade rates were not material to their

calculations. 64 Multiple analysts likewise testified that upgrades and equipment

revenues were not significant to their analysis due to the lack of earnings impact.65




63 See Compl., Dkt. No. 1 at ¶ 68.
64 See Entner Decl., Ex. 1 at ¶ 119; Valentine Decl., Ex. 1 at ¶ 87; see also SOF at ¶¶ 51-52; Krumholz
Decl., Ex. 7, Entner Dep. Tr. at 85:11-24; Krumholz Decl., Ex. 8, Allen Dep. Tr. at 129:16-130:10. The
SEC’s expert Professor John Griffin likewise admits that at least four analyst firms did not use the
handset upgrade rate in their models. Krumholz Decl., Ex. 9, Griffin Expert Report at App’x C.
65 See SOF at ¶ 51; Krumholz Decl., Ex. 10, Breen, James William Blair, Dep. Tr. at 85:5-11 (equipment

revenue was “a zero sum game” and “profit neutral”); Krumholz Decl., Ex. 11, Cusick, Philip, JP
Morgan, Dep. Tr. at 38:15-39:7 (equipment revenue under EIP is “pass-through” and “EBITDA
neutral”); id. at 44:14-16 (“Equipment revenue which impacts revenue and may be offset by costs
typically does not impact EBITDA and so is not something that people focus on”); Krumholz Decl., Ex.
12, Fritzsche, Jennifer, Wells Fargo, Dep. Tr. at 94:13-21 (stating that equipment revenue “does not
impact earnings”); Krumholz Decl., Ex. 13, Hodulik, John, UBS, Dep. Tr. at 58:6-8 (testifying that
there is no profit associated with equipment revenue because is a “pass-through”); Krumholz Decl.,
Ex. 14, Kvaal, Jeffrey, Nomura, Dep. Tr. at 28:5-11 (agreeing that he was not interested in equipment
revenue because “it either had no margin or very low margin attached to it”); Krumholz Decl., Ex. 15,
McNiff, Gregory, Nomura, Dep. Tr. at 112:24-113:21 (stating that “equipment revenue is like what’s
called like pass-through . . . I think of it as like margin neutral, maybe slightly margin negative”);
Krumholz Decl., Ex. 16, Levi, Batya, UBS, Dep. Tr. at 66:20-21 (upgrade rates under EIP are “profit-
neutral”); Krumholz Decl., Ex. 17, Niknam, Matthew, Deutsche Bank, Dep. Tr. at 155:6-11 (equipment
revenue “did not carry margin or profitability with it”); Krumholz Decl., Ex. 18, Piecyk, Walter, BTIG,
Dep. Tr. at 69:2-4 (“upgrade rate was irrelevant to the EBITDA and earnings of the company”);
Krumholz Decl., Ex. 19, Sine, Barry, Drexel Hamilton, Dep. Tr. at 195:6-11 (lower upgrade rates have
a “neutral impact” on earnings for unsubsidized phones).

                                                  15
       Consistent with public company norms and as affirmed by the SEC’s own

experts, AT&T’s IR department routinely monitors consensus estimates of various

metrics and compares what it is internally seeing and projecting.                        66   AT&T

management understandably did not want analysts’ apparent lack of focus on the

declining upgrade trend to produce incorrect consensus revenue forecasts, which can

create negative headlines based on a metric of no substantive value.67

       In March 2016, CFO John Stephens raised the possibility of filing a Form 8-K

to address the slower upgrade trend (in addition to several other unrelated issues).68

Stephens decided instead to emphasize the trend during a public March 9, 2016

presentation at Deutsche Bank’s 2016 Media, Internet, and Telecom Conference

(hereinafter “the March 9 Conference”).69 The Complaint does not allege that these

remarks were nonpublic or otherwise not compliant with Regulation FD, and AT&T

has conclusively established they were broadly available to investors.70

       In his opening remarks at the March 9 Conference, Stephens publicly stated:

“I think you saw in the fourth quarter, it was a slowdown in the handset upgrade

cycle or the total sales. I wouldn't be surprised to see that continue….” 71


66 See SOF at ¶ 53; Valentine Decl., Ex. 1 at ¶ 28; Krumholz Decl., Ex. 20, Viola Dep. Tr. at 84:23-
85:11; Krumholz Decl., Ex. 21, DiBucci Dep. Tr. at 261:2-62:25 (acknowledging Verizon’s IR
department also monitored consensus numbers when he was there); Krumholz Decl., Ex. 22, Blalock
Dep. Tr. at 276:15-23 (stating that comparing actual numbers and consensus is “one of the roles of
IR”).
67 See SOF at ¶ 54; Krumholz Decl., Ex. 20, Viola Dep. Tr. at 44:22-45:3 (testifying that missing

consensus was “a media distraction for us, and we knew what the issue was”).
68 See SOF at ¶ 23; Joint Ex. 216, March 3, 2016 AT&T Internal Email “8K”.
69 See JSF at ¶ 188; SOF at ¶ 24; Joint Ex. 55, Mar. 9, 2016 AT&T Inc. at Deutsche Bank Conference

Transcript; Krumholz Decl., Ex. 23, Stephens Dep. Tr. at 212:11-212:13; Krumholz Decl., Ex. 20, Viola
Dep. Tr. at 104:5-22.
70 See Compl. Dkt. No. 1; SOF at ¶ 25; Krumholz Decl., Ex. 23, Stephens Dep. Tr. at 229:13-22.
71 See JSF at ¶ 191; SOF at ¶ 26; Joint Ex. 55, Mar. 9, 2016 AT&T Inc. at Deutsche Bank Conference

Transcript at 3.

                                                 16
Stephens further stated that the slowdown would have “very little impact at all on

profitability” because handset revenue was “hedged in one way or another with the

handset expenses….”72 In addition, Stephens reiterated that the “average customer

is holding their phones longer”; that the number of subscribers who brought their

own device when they purchased a new wireless plan (i.e., BYOD subscribers) rose

from “90,000 to 100,000 a quarter” before the introduction of AT&T’s no-subsidy

“Next” plan, to “350,000 to 400,000” per quarter for most of 2015, which “show[ed]

that customers are valuing that old device and reusing it”; and that the number of

BYOD subscribers further rose to “700,000” during the fourth quarter 2015.73

       Notably, one day earlier, Verizon made very similar disclosures at the same

conference. Verizon’s CFO publicly stated that “[i]n this world, where the customers

[sic] is paying full price for the phone, [upgrade volume] has less of an impact… it’s

zero profit… [b]ecause everyone is selling them at cost… So, where volumes go,

volumes will go. It does, obviously, have an impact to top-line because the more I sell,

the more revenue growth there is. But, there’s no profit in that revenue

growth.”74 Verizon’s CFO further stated that “volume in the fourth quarter” was

“less than a year ago,” and that this reduced upgrade level would likely remain




72 See JSF at ¶ 191; SOF at ¶ 26; Joint Ex. 55, Mar. 9, 2016 AT&T Inc. at Deutsche Bank Conference
Transcript at 3.
73 See JSF at ¶ 191; SOF at ¶ 27; Joint Ex. 55, Mar. 9, 2016 AT&T Inc. at Deutsche Bank Conference

TranscriptAt 6.
74 See SOF at ¶ 28; Joint Ex. 226, March 8, 2016 Verizon at Deutsche Bank Conference Transcript at

16.

                                               17
“steady as she goes” until “we see a massive change in technology in the handsets”

that would motivate customers to upgrade their phones.75

       Reporters and analysts who covered Stephens’ remarks interpreted them as

conveying that the slower upgrade rate and equipment revenue trends were expected

to continue in the first quarter. For example, Bloomberg publicly noted immediately

after the conference that “AT&T Expects Slowdown in Phone Sales to Continue

in 2016.” 76 Later that day, Deutsche Bank published a research note, which

referenced Stephens’ presentation earlier that day and stated that “[w]hile some

revenue headwinds like lower handset volumes and negative F/X swings appear to

have continued in early 2016, these do not impact margin/profitability

improvements (where T remains focused).” 77 Likewise, almost immediately after

Stephens had made his remarks, UBS analyst Gabriella Brown circulated an internal

email within UBS with the heading “AT&T Corp.: CFO: Expect slowdown in

phone sales to continue in FY16 – conf comments – what is he referencing?”78 At

approximately 1:00 p.m. Eastern on March 9, 2016, another UBS analyst, Batya Levi,

responded: “Slow volumes ie handset adds and upgrades. Installment plans and lack

of iconic device launches are keeping volumes low. VZ said the same yesterday.”79

SEC experts Blalock and DiBucci also agreed that Stephens conveyed during the



75 See SOF at ¶ 28; Joint Ex. 226, March 8, 2016 Verizon at Deutsche Bank Conference Transcript at
16.
76 See JSF at ¶ 196; SOF at ¶ 30; Joint Ex. 60, Mar. 9, 2016 Bloomberg alert (EVER-ATT_00015942).
77 See JSF at ¶ 195; SOF at ¶ 31; Joint Ex. 59, Mar. 9, 2016 Deutsche Bank analyst report.
78 See JSF at ¶ 193; SOF at ¶¶ 34-35; Joint Ex. 57, Mar. 9, 2016 UBS Internal Email (SEC-LIT-ATT-

000877104).
79 See JSF at ¶ 193; SOF at ¶ 36; Joint Ex. 57, Mar. 9, 2016 UBS Internal Email (SEC-LIT-ATT-

000877104).

                                               18
March 9 Conference that AT&T was expecting lower upgrade rates and equipment

revenues in the first quarter of 2016.80

          AT&T’s IR Employees Alert Analysts to Stephens’ Public Comments

       Following Stephens’ public statements, AT&T’s IR employees had follow-up

conversations with individual analysts between March 9, 2016, and April 21, 2016,

concerning what Stephens told the market. 81 These communications are not

unusual.82 The SEC’s public Regulation FD guidance recognizes that IR personnel

may call analysts privately to point out how their models diverge from publicly

reported information. 83 As noted in Figure 2 of the report by SEC expert Lauren

Cohen, AT&T’s IR team had similarly high call volumes with analysts during

multiple other time periods in 2015-16. 84 Many of the March-April 2016 calls

moreover were inbound calls from analysts, rather than outbound calls. 85 The

individual Defendants testified that they have no recollection of providing any AT&T

internal numbers during the calls and would not have done so because providing

internal financial information to analysts was and is prohibited under AT&T policies

and practices. 86 While multiple analysts included notes suggesting a 5% upgrade

rate, 15-20% year-over-year drop in equipment revenue, or a $600 million year-over-


80 See SOF at ¶ 38; Krumholz Decl., Ex. 22, Blalock Dep. Tr. at 301:5-15; Krumholz Decl., Ex. 21,
DiBucci Dep. Tr. at 241:13-42:17.
81 See SOF at ¶ 55; Krumholz Decl., Ex. 20, Viola Dep. Tr. at 115:2-16.
82 See SOF at ¶ 56; Krumholz Decl., Ex. 22, Blalock Dep. Tr. at 192:5-18, 279:18-280:17; Krumholz

Decl., Ex. 21, DiBucci Dep. Tr. at Tr. 90:22-91:4; Krumholz Decl., Ex. 24, Wolk Dep. Tr. at 244:6-19.
83 See JSF at ¶ 122; SOF at ¶ 56; Joint Ex. 15, June 4, 2010, SEC Compliance & Disclosure

Interpretation: Regulation FD at 3-4.
84 See SOF at ¶ 57; Krumholz Decl., Ex. 25, Cohen Expert Report at Figure 2.
85 See SOF at ¶ 57; Krumholz Decl., Ex. 25, Cohen Expert Report at Figure 2.
86 See SOF at ¶ 58; Krumholz Decl., Ex. 3, Black Dep. Tr. at 84:14-85:24, 321:9-322:13, 343:16-19;

Krumholz Decl., Ex. 1, Womack Dep. Tr. at 104:24-107:14, 111:03-115:01:, 181:18-25, 198:4-18;
Krumholz Decl., Ex. 2, Evans Dep. Tr. at 145:02-146:15, 193:3-194:3, 209:02-210:05.

                                                 19
year equipment revenue decline, the analysts testified that their notes did not reflect

a verbatim account of what was said or who said what, but rather was an

amalgamation of their own thoughts and perceptions.87 And even assuming arguendo

the information was communicated, it was immaterial and already public.

       Notably, not a single analyst who participated in the calls has testified

they believe they received material, nonpublic information, and none told

their compliance officers or anyone else at their employer that AT&T

divulged material nonpublic information during the calls.88 Multiple analysts,

including the UBS analysts who published the first post-March 9 updated forecasts

on March 18, 2016, affirmatively testified they received no material nonpublic




87 See, e.g. SOF at ¶ 60; Krumholz Decl., Ex. 26, Stein, Caleb, Wells Fargo, Dep Tr. at 35:18-37:25,
86:3-87:12; Krumholz Decl., Ex. 15, McNiff, Gregory, Nomura, Dep. Tr. at 66:2-22, 78:2-79:8, 79:21-
80:2; Krumholz Decl., Ex. 14, Kvaal, Jeffrey, Nomura, Dep. Tr. at 89:24-90:23, 142:3-18; Krumholz
Decl., Ex. 17, Niknam, Matthew, Deutsche Bank, Dep. Tr. at 116:1-10, 116:18-117:3.
88 See, e.g., SOF at ¶ 59; Krumholz Decl., Ex. 19, Sine, Barry, Drexel Hamilton, Dep. Tr. at 106:2-14;

112:18-23; 339:16-340:02; Krumholz Decl., Ex. 26, Stein, Caleb, Wells Fargo, Dep. Tr. at 47:22-49:19;
115:10-116:09, 123:18-124:24; Krumholz Decl., Ex. 14, Kvaal, Jefferey, Nomura, Dep. Tr. at 66:8-69:15;
Krumholz Decl., Ex. 15, McNiff, Gregory, Nomura, Dep. Tr. at 86:14-87:9; Krumholz Decl., Ex. 27,
Hyun, Brian, RBC, Dep. Tr. at 26:13-28:04; 102:11-103:2; Krumholz Decl., Ex. 28, Choe, Richard, JP
Morgan, Dep. Tr. at 37:2-15; Krumholz Decl., Ex. 11, Cusick, Philip, JP Morgan, Dep. Tr. at 89:4-90:04;
131:23-133:02; Krumholz Decl., Ex. 13, Hodulik, John, UBS, Dep. Tr. at 46:5-47:2; 240:19-242:08;
244:0-25; Krumholz Decl., Ex. 16, Levi, Batya, UBS, Dep. Tr. at 51:11-52:3, 99:14-100:2; Krumholz
Decl., Ex. 12, Fritzsche, Jennifer, Wells Fargo, Dep. Tr. at 26:13-27:25; 111:05-112:11; Krumholz Decl.,
Ex. 17, Niknam, Matthew, Deutsche Bank, Dep. Tr. at 102:18-105:08; 128:23-129:06; Krumholz Decl.,
Ex. 10, Breen, James, William Blair, Dep. Tr. at 40:5-25; 54:01-13; Krumholz Decl., Ex. 29, Nispel,
Brandon, Pacific Crest, Dep. Tr. at 77:15-78:25; Krumholz Decl., Ex. 30, Galone, Joseph, BTIG, Dep.
Tr. at 38:02-39:07; Krumholz Decl., Ex. 18, Piecyk, Walter, BTIG, Dep. Tr. at 19:1-21:12, 140:02-25;
Krumholz Decl., Ex. 31, Bowen, Michael, Pacific Crest, Dep. Tr. at 18:01-23; 76:21-77:10; 78:10-13;
Krumholz Decl., Ex. 32, Fletcher, Whitney, Deutsche Bank, Dep. Tr. 63:16-64:07; 65:21-68:11;
Krumholz Decl., Ex. 33, Ilkowitz, Adam, Citigroup, Dep. Tr. at 95:21-96:17; 102:13-21; 117:12-118:15;
155:10-23; 193:02-17.

                                                  20
information from AT&T.89 The analysts instead repeatedly testified that they viewed

equipment revenue from EIP upgrades as profit-neutral and unimportant:

               Q.     Explain to the ladies and gentlemen of the jury why you,
               as an analyst of 20-plus years covering AT&T, wouldn't think this
               is material?”

               A.     “Because I would, that is probably going to have if, if
               wireless equipment revenue is down 20 percent, probably my cost
               of equipment is going to be down a similar amount, and there will
               be no change to my EBITDA or EPS estimates that really drive
               my price target and recommendation on the day.”

               Q.    “In your mind, as an analyst working the numbers, doing
               the analysis here, even if someone told you, "I think equipment
               revenue is going to be down 20 percent," to you that wouldn't be
               material, because it's going to be offset by declining costs?”

               A.      “That's right.”90

               ***

               “AT&T is just selling an Apple handset to a sub [subscriber to
               AT&T’s service] and then passing that money back to Apple. It's
               not part of AT&T's -- what I think is normal course of business.
               Again, I think of them as a channel for Apple or Samsung.”91

               ***

89 SOF at ¶ 61; Krumholz Decl., Ex. 26, Stein, Caleb, Wells Fargo, Dep. Tr. at 46:23-49:19; Krumholz
Decl., Ex. 17, Niknam, Matthew, Deutsche Bank, Dep. Tr. at 50:14-52:14; 102:12-105:08; 127:17-
128:09; 108:08-109:4; Krumholz Decl., Ex. 11, Cusick, Philip, JP Morgan, Dep. Tr. at 89:24-90:04;
Krumholz Decl., Ex. 10, Breen, James, William Blair, Dep. Tr. at 53:06-18; 55:11-15; 99:14-24;
Krumholz Decl., Ex. 13, Hodulik, John, UBS, Dep. Tr. at 45:10-47:2; 132:21-133:9; 216:1-218:6;
Krumholz Decl., Ex. 27, Hyun, Brian, RBC, Dep. Tr. at 27:14-28:4; 132:24-135:08; Krumholz Decl., Ex.
16, Levi, Batya, UBS, Dep. Tr. at 49:21-53:06; 95:12-96:11; 98:09-14; Krumholz Decl., Ex. 32, Fletcher,
Whitney, Deutsche Bank, Dep. Tr. at 63:04-64:07; 65:18-66:14; Krumholz Decl., Ex. 12, Fritzsche,
Jennifer, Wells Fargo., Dep. Tr. at 25:20-27:25; 95:17-96:16, Krumholz Decl., Ex. 18, Piecyk, Walter,
BTIG, Dep. Tr. at 20:17-21:12, 73:7-12; Krumholz Decl., Ex. 30, Galone, Joseph, BTIG, Dep. Tr. at
36:04-37:06; Krumholz Decl., Ex. 14, Kvaal, Jefferey, Nomura, Dep. Tr. at 66:18-69:15; Krumholz
Decl., Ex. 15, McNiff, Gregory, Nomura, Dep. Tr. at 86:05-87:14; Krumholz Decl., Ex. 29, Nispel,
Brandon, Pacific Crest, Dep. Tr. at 76:21-78:24; Krumholz Decl., Ex. 19, Sine, Barry, Drexel Hamilton,
Dep. Tr. at 100:03-10; 112:18-113:19; Krumholz Decl., Ex. 33, Ilkowitz, Adam, Citigroup, Dep. Tr. at
93:08-13; 96:07-17.
90 SOF at ¶ 62; Krumholz Decl., Ex. 16, Levi, Batya, UBS, Dep. Tr. at 97:3-25.
91 SOF at ¶ 62; Krumholz Decl., Ex. 15, McNiff Gregory, Nomura, Dep. Tr. at 114:2-6.


                                                  21
               “If I sell or hand a customer another phone, then that would
               create the revenue of that that I record in equipment revenue. It
               also records a fairly -- under an installment plan, a fairly similar
               number in cost of equipment, and so your question is how would
               it impact margins. It would have very little impact on margins.”92

               ***

               “[C]alling it a zero margin business made sense.”93

               ***

               “[W]e call it "EBITDA neutral," so revenue and cost are fairly
               close.”94

               ***

               Q:     “[D]id you understand that even though they [AT&T] were
               receiving revenues in the forms of purchases of these phones, they
               had an equivalent cost that made it a zero-sum game? That is,
               earnings are profit neutral?”

               A.      “Yes.”95

               ***

               “[I]t's not profitable revenue but rather kind of pass-through
               revenue and therefore, it's no--no benefit or hurting of margin.”96

               ***

               “Equipment sales and FX [foreign exchange] are not really a key
               driver for any evaluation of what you do with stocks.”97

               ***




92 SOF at ¶ 62; Krumholz Decl., Ex. 11, Cusick, Philip, JP Morgan, Dep. Tr. at 114:15-21.
93 SOF at ¶ 62; Krumholz Decl., Ex. 14, Kvaal, Jeffrey, Nomura, Dep. Tr. at 134:24-25.
94 SOF at ¶ 62; Krumholz Decl., Ex. 11, Cusick, Philip, JP Morgan, Dep. Tr. at 39:5-7.
95 SOF at ¶ 62;Krumholz Decl., Ex. 10, Breen, James, William Blair, Dep. Tr. at 85:5-11.
96 SOF at ¶ 62; Krumholz Decl., Ex. 12, Fritzsche, Jennifer, Wells Fargo, Dep. Tr. at 168:10-13
97 SOF at ¶ 62; Krumholz Decl., Ex. 29, Nispel, Brandon, Pacific Crest, Dep. Tr. at 52:6-8.


                                                 22
               Q:     “Is it fair for the jury to conclude that what you were trying
               to say to your client was that although there may be a revenue
               miss because equipment revenue's gone down, not to worry, it's
               not material because it's margin neutral and largely pass-
               through? Is that a fair summary?”

               A:      “Yeah, and it does not impact earnings.”98

               ***

               Q:    “Is there any margins or profit associated with equipment
               revenue?”

               A:      “No. It's a pass-through.”99

     The Analysts’ Updated Reports Confirm the Information Was Immaterial

         The updated analyst reports published after the calls at issue likewise show

the analysts viewed the trend as profit neutral and insignificant to AT&T’s earnings.

On March 18, 2016, UBS published an updated analyst report titled “Wireless

Telecommunications: What Longer Upgrade Cycles Mean for the Carriers.”100 This

was the first analyst report published after the calls at issue in this litigation in which

an analyst revised their prior published forecasts, and is the first analyst report that

the SEC contends reflects information that was disclosed during those calls.101 The

report addressed Verizon, Sprint, and T-Mobile in addition to AT&T.102 UBS noted

that “[a]part from record volumes seen in Q414, the industry’s upgrade rate has been

consistently flat to down over the past 2 years” and forecast a 6.2% upgrade rate for

the group as a whole.103 The report also stated that while “we are also lowering [our]


98 SOF at ¶ 62; Krumholz Decl., Ex. 12, Fritzsche, Jennifer, Wells Fargo, Dep. Tr. at 94:13-21.
99 SOF at ¶ 62; Krumholz Decl., Ex. 13, Hodulik, John, UBS, Dep. Tr. at 58:6-8.
100 See JSF at ¶ 216; SOF at ¶ 66; Joint Ex. 64, Mar. 18, 2016 UBS analyst report.
101 See Compl. Dkt. No. 1 at ¶ 84.
102 See JSF at ¶ 216; Joint Ex. 64, Mar. 18, 2016 UBS analyst report.
103 See Joint Ex. 642.


                                                  23
equipment revenue assumptions for the group,” this reduction “should not have a

meaningful impact on EBITDA as EIP accounting allows them to largely match

equipment revenues with the cost of the device.”104 There is no competent evidence

showing that these statements would be expected to cause a stock price decline.

       Subsequent reports confirmed that the analysts viewed the trend as neutral:

       x   On March 21, 2016, Deutsche Bank published an analyst report
           titled “Record-Low Upgrade Activity in 1Q; Revenue Pressure, EPS
           Unchanged.”105 The report stated that “[w]hile this is more optical
           in nature, we nonetheless flag that we are reducing revenue
           expectations into the print given: (1) lower handset upgrade volumes,
           and (2) FIX headwinds. Though we believe there are cost offsets
           which keep our EPS expectations unchanged, we note our
           current 1Q16 revenue estimate is -3% vs. consensus, which we
           expect to trend lower in upcoming weeks.”106

       x   On March 28, 2016, Wells Fargo published an “Equity Research”
           report for AT&T.107 The report stated that “[w]e believe T's postpay
           upgrades will be 5% in Q1, 300bps below current Street expectations.
           […] While this is a negative for the headline revenue print (as
           equipment revenues likely will come in below where Street is
           currently modeling), we note this equipment revenue is margin
           neutral, or essentially a pass through. So while lower revenue is
           optically tough to see, it does not impact margin or EPS.”108

       x   On April 19, 2016, Pacific Crest published a report titled “Upgrade
           Rates Hit Air Pockets; Adjusting Estimates for T and VZ.”109 The
           report stated that “[w]e are making changes to our estimates for
           AT&T and Verizon based on updated upgrade assumptions, which
           has the effect of lowering our equipment revenue estimates. At the
           same time, this should lead to a slightly more positive adjusted
           EBITDA margin. We do not believe that these are significant
           changes to the model because, as we mentioned previously,
           equipment revenue is basically a pass-through account. In


104 See Joint Ex. 644.
105 See JSF at ¶ 226; Joint Ex. 69, Mar. 21, 2016 Deutsche Bank analyst report.
106 See Joint Ex. 69. at 5.
107 See JSF at ¶ 230; Joint Ex. 70, Mar. 28, 2016 Wells Fargo analyst report.
108 See Joint Ex. 70 at 1.
109 See JSF at ¶ 267; Joint Ex. 94, Apr. 19, 2016 Pacific Crest April 19 Note.


                                                 24
           addition, we believe FX pressures will affect AT& T's 1Q16 results
           and thus lead to slightly lower international revenue. […] Our total
           EPS estimates for 1Q16 and F2016 remain unchanged.”110

      AT&T Likewise Internally Treated EIP Sales As Earnings Neutral

       The analysts’ view that EIP sales are profit neutral is consistent with AT&T’s

internal view. AT&T’s year-over-year revenue from subsidized smartphone sales was

flat during the first quarter of 2016 and represented just ten percent of AT&T’s

overall phone sales.111 It was the decline in upgrades by unsubsidized customers

that drove the upgrade rate and equipment revenue changes that were allegedly

selectively disclosed, not subsidy sales. 112 The SEC has produced no competent

summary judgment evidence to controvert the sworn interrogatory response

(incorporated into John Stephens’ declaration) demonstrating that AT&T’s

unsubsidized Next plan produced a total net economic loss of just $48,479,863 (before

taxes) for Next sales made during 1Q 2016 when all relevant economic inflows and

outflows are considered.113 This amount is less than 1.3% the size of AT&T’s more

than $3.8 billion in net income for the first quarter.114 Further, when the 35% federal

income tax rate in effect during 2016 is applied, the amount drops to less than 1%

the size of AT&T’s net income, which is an after-tax amount.115 This amount is the

total economic impact of Next sales made during the quarter. 116 The difference




110 See Joint Ex. 94 at 7.
111 See JSF at ¶¶ 93-95; SOF at ¶ 69; Stephens Decl. at ¶ 31.
112 SOF at ¶ 69; Stephens Decl. at ¶ 31.
113 See SOF at ¶ 70 Stephens Decl. at ¶ 22, Ex. 1.
114 See SOF at ¶ 70; Stephens Decl. at ¶ 23.
115 See SOF at ¶ 70; Stephens Decl. ¶ 23.
116 See Stephens Decl. at ¶ 24.


                                                 25
between what the analysts were forecasting before March 9, 2016, and what

Defendants allegedly selectively disclosed is a small fraction of this amount.117

       For sales under the Next plan, AT&T sells phones for very close to the same

price that they are available from the manufacturers, with the sale price and cost of

the phone recognized simultaneously.118 AT&T recognizes an imputed interest charge

at the time the phone is sold, but nearly all of that is recouped as interest income as

the customer makes installment payments.119 AT&T also recognizes a “guarantee

liability” based on the Next program’s trade-in feature, which allows customers to

trade in their phones for a new phone after a certain number of months without

having to pay the remaining installments on the old phone. 120 The “guarantee

liability” is a conservative estimate of the likelihood that the phone will be worth less

at the time of trade-in than the balance of payments remaining.121 There is also a

“bad debt” allowance (which is a cost), as well as an activation fee (which is a customer

payment to AT&T for initiating service and flows the other way).122 When all of the

inflows and outflows are tallied, the aggregate effect was patently immaterial.123

       Stephens testified that the Next program was immaterial from an economic

standpoint based on his personal analysis of the relevant inflows and outflows




117 See SOF at ¶ 70; Stephens Decl. at ¶¶ 23-24. As noted in the Stephens Declaration, this applies a
very conservative 3.5% bad debt assumption. See id. Applying AT&T’s 1% company-wide bad debt
reserve produces an even lower impact. See id.
118 See SOF at ¶ 71; Stephens Decl. at at ¶¶ 7 (describing the company’s view of the economic impact

of Next phone sales).
119 See SOF at ¶ 73; Stephens Decl.. at ¶¶ 7, 27.
120 See SOF at ¶ 74; Stephens Decl. at ¶¶ 5, 27, Ex. 1.
121 See SOF at ¶ 74; Stephens Decl. at ¶ 27, Ex. 1.
122 See SOF at ¶ 75; Stephens Decl. at ¶¶ 22-23, 27-29.
123 See SOF at ¶ 76l Stephens Decl. at ¶¶ 25-26.


                                                 26
associated with EIP sales. 124 As CFO, he was intimately familiar with AT&T’s

finances and had personally analyzed the economic impact.125 Internal documents

also confirm AT&T’s real-time view that the revenues were immaterial.126

      The SEC’s Accounting Expert Confirmed the Declines Were Immaterial

         The SEC has attempted to rebut Stephens’ testimony through a purported

expert analysis by Dominic DiBucci contending that AT&T lost an average of $100

per phone.127 As a preliminary matter, the DiBucci report does not purport to be a

formal forensic accounting analysis, but instead extrapolates from a handful of

apples-and-oranges documents that do not purport to show the full aggregate

accounting treatment of the EIP program or its full impact on AT&T’s bottom line.128

There is no competent summary judgment evidence supporting DiBucci’s calculation.

As set forth in the Stephens Declaration, the $100 drops by approximately 50% or

more just by taking taxes and the activation fee into account.129 The recoupment of

interest income further reduces the alleged loss from an economic standpoint.130

         Significantly, DiBucci’s calculations admittedly do not produce a material

change to earnings or revenue even if his unfounded numbers are fully




124 See SOF at ¶ 77; Krumholz Decl., Ex. 23, Stephens Dep. Tr. at 153:1-3, 213:8-15.
125 See SOF at ¶¶ 77-78; Krumholz Decl., Ex. 23, Stephens Dep. Tr. at 153:1-3, 213:8-15..; Stephens
Decl. at ¶¶ 1, 27.
126 See Viola Decl., Ex. 3, Mar. 9, 2016 “Q&A Draft” at 2 (stating that “handset sales impact revenue

but not profitability”); Viola Decl., Ex. 4, Aug. 4, 2016 Sheehan Email (describing equipment revenue
as having “zero profits”).
127 See SOF at ¶¶ 80-88; Krumholz Decl., Ex. 34, DiBucci Expert Report at ¶ 40; Stephens Decl. at ¶¶

27-29.
128 See SOF at ¶ 79; Krumholz Decl., Ex. 35, DiBucci Supplemental Report.
129 See Stephens Decl. ¶ 29.
130 See id.


                                                 27
accepted. DiBucci opined that AT&T lost $100 for each smartphone it sold.131 He

also acknowledged that a 1 percent decline in upgrade rate for the quarter (i.e., from

6.2% to 5.2%) would produce only a 1.2% reduction in AT&T’s total revenues, that a

$680 million dollar decline in equipment revenues (a 20% reduction in equipment

revenues as alleged by the SEC in its Complaint to have been communicated during

the phone calls in question) would be just 1.68% of AT&T’s revenues, and that a

1 percent upgrade rate change would have only a $77 million impact on AT&T’s

bottom line for the quarter from an accounting perspective (excluding future economic

inflows that would at least partially offset this amount in future quarters).132 $77

million is just two percent of AT&T’s $3.8 billion in net income for the quarter.133

Using these same calculations, a 1.5% decline in upgrade rates would produce just a

3% impact on net income.134 A 2% decline in upgrade rates would produce just a 4%

impact (and, again, all of these percentages would be reduced if taxes are applied).135

At bottom, even using DiBucci’s own inflated numbers, the impact on earnings is still

well below the 5% threshold for presumptive quantitative immateriality.




131 See SOF at ¶¶ 80-88; Krumholz Decl., Ex. 21, DiBucci Dep. Tr. at 200:4-15. DiBucci claimed that
his number did not include “other variables such as selling costs,” but provides no opinion and cites no
evidence as to what those costs are and does not show that they are variable costs that would
materially change based on the sales volume. Id. at 200:1-201:16. See also Stephens Decl. at ¶ 28;
Entner Decl., Ex. 1 at ¶ 4(b).
132 See SOF at ¶¶ 80-88; Krumholz Decl., Ex. 21, DiBucci Dep. Tr. at 120:09-129:08, 203:05-205:08.
133 See SOF at ¶¶ 80-88; Krumholz Decl., Ex. 21, DiBucci Dep. Tr. at 203:05-205:08.
134 See SOF at ¶¶ 80-88; Krumholz Decl., Ex. 212, DiBucci Dep. Tr. at 203:05-205:08.
135 See SOF at ¶¶ 80-88; Krumholz Decl., Ex. 212, DiBucci Dep. Tr. at 203:05-205:08; Stephens Decl.

¶ 23.

                                                  28
         AT&T’s Experts Provide Further Support for Summary Judgment

           In addition to the undisputed public-disclosure record, the admissions by the

SEC and its witnesses, and the uncontroverted testimony and declarations by AT&T

witnesses regarding the aggregate impact of EIP sales, AT&T has also submitted

expert declarations from five expert witnesses in support of this motion.

               x   Professor Allen Ferrell, a Harvard Law School professor and economist,
                   has opined based on event studies that the January 26, 2016 fourth
                   quarter revenue miss had no price impact (which the SEC admits) and
                   that the analyst reports published after the analyst calls at issue had no
                   statistically significant impact on AT&T’s stock price.136

               x   Lucy Allen, a former economist for the national Council of Economic
                   Advisers, has opined that the January 26, 2016 fourth quarter miss was
                   a “natural experiment” to test the economic materiality of equipment
                   revenue from EIP sales and demonstrated it was immaterial. She has
                   also opined that the updated analyst reports published after the calls at
                   issue had no statistically significant impact on AT&T’s stock price, that
                   the market understood equipment revenue to be immaterial pass-
                   through revenue, that consensus EPS estimates did not materially
                   change, that no analysts changed their price targets, that a reasonable
                   analyst could have calculated materially the same upgrade rates and
                   equipment revenues allegedly conveyed during the calls based on public
                   information, and that SEC experts Cohen, DiBucci, Wolk, and Griffin
                   provided no reliable evidence that the information at issue was material
                   from an economic standpoint.137

               x   Telecommunications analyst expert Roger Entner, a well-known
                   thought leader on trends in the wireless industry, opined that the
                   slowdown in upgrade cycles caused by the phaseout of smartphone
                   subsidies was well-known in the industry, that it was also well-known
                   that equipment revenues would fall, that AT&T and others had clearly
                   communicated this trend before the analyst calls at issue, that a
                   reasonable telecommunications analyst would have calculated another
                   record low upgrade rate for the first quarter of 2016 based on those
                   communications, that it was well-understood in the industry that
                   equipment revenue from EIP sales had little impact on earnings, and
                   that a reasonable analyst could have calculated materially the same

136   See Ferrell Decl., Ex. 1.
137   See Allen Decl.

                                                29
                upgrade rates allegedly conveyed during the calls based on public
                information.138

            x   Analyst expert James Valentine, who authored the Best Practices for
                Equity Research Analyst guidebook (the best-selling “how to” book ever
                published on this topic), has opined that there was no significant
                movement in average EPS forecasts, that analysts actually and
                reasonably viewed upgrade rates and equipment revenue as earnings
                neutral, that analysts would have faced significant consequences had
                they disseminated material nonpublic information without consulting
                their internal compliance officers, that reasonable analysts would have
                viewed equipment revenue as immaterial, and that a reasonable analyst
                could estimate materially the same upgrade rates allegedly conveyed
                during the calls based on public information. 139

            x   Former SEC Commissioner Paul Atkins has opined that the SEC’s
                Blalock expert report fails to show that the NIRI best practices
                guidelines for investor relations professionals are a relevant industry
                standard for assessing Regulation FD liability, and that the SEC has
                failed to show how Regulation FD’s text and public guidance provides
                fair notice that the allegations and evidence in this case would provide
                a legitimate basis for an enforcement claim.140

                             ARGUMENT AND AUTHORITIES

        AT&T seeks both summary judgment and judgment on the pleadings.

Summary judgment is proper when, considering the evidence as a whole and viewing

it in the light most favorable to the plaintiff, a reasonable jury could not find in the

plaintiff’s favor on a required element of their claim, or that the movant is entitled to

judgment in its favor as a matter of law. See Strougo v. Barclays PLC, 334 F. Supp.

3d 591, 596 (S.D.N.Y. 2018). A motion for judgment on the pleadings is governed by

the same standards applicable to motions under Rule 12(b)(6), which require




138 See Entner Decl., Ex. 1.
139 See Valentine Decl., Ex. 1.
140 See Atkins Decl.


                                            30
sufficient factual allegations to support a plausible basis for relief. See Vega v.

Hempstead Union Free Sch. Dist., 801 F.3d 72, 78 (2d Cir. 2015).

I. THE ALLEGEDLY DISCLOSED INFORMATION WAS NOT MATERIAL

       The allegations and evidence presented here do not establish a triable issue of

fact on whether the statements were material. In the two decades following its

adoption, the SEC has litigated only one contested Regulation FD case. Judge Daniels

dismissed that case on the pleadings, criticizing the SEC for “nit-picking” the

company’s public and private disclosures. He warned that using Regulation FD in an

“overly aggressive manner” could chill productive communications.141 Judge Daniels

also observed that “[s]ignificantly, none of the statements challenged by the SEC falls

squarely within the seven enumerated categories” of potentially material information

listed in the Adopting Release. 142 The upgrade rate and equipment revenue

information at issue here likewise falls outside those categories, which include

“[e]arnings information” and major business events, but not “revenues,”143 much less

equipment revenues that the market and analysts considered to be earnings neutral.

       The SEC cannot reach a jury on materiality when (as here) the discrepancy

between the public disclosures and the alleged nonpublic information implicates less

than five percent of the company’s earnings or revenues, a level that supports at least

a presumption or preliminary assumption that the information at issue is




141 SEC v. Siebel Systems, Inc., 384 F. Supp. 2d 694, 705, 708 (S.D.N.Y. 2005).
142 See id. at 708.
143 See id. at 702.


                                                  31
immaterial.144 While courts have considered qualitative factors to assess whether a

sub-5% discrepancy could still be material, “[t]hese qualitative factors are intended

to allow for a finding of materiality if the quantitative size of the misstatement is

small, but the effect of the misstatement is large.”145

       As noted above, there was nothing “large” – quantitatively, qualitatively, or

otherwise – about the reduced upgrade rate and equipment revenue numbers that

were allegedly selectively disclosed. AT&T again derived less than ten percent of its

revenues from smartphone sales during the relevant time period, and the reductions

in equipment revenue allegedly selectively communicated to the analysts represent

a small sliver of these revenues.146 There is no competent evidence showing that the

alleged selective disclosures conveyed anything “important,” material, or even

vaguely meaningful147 about AT&T’s future earnings or growth prospects.

       The market reaction to the allegedly “new information,” is likewise conclusive.

The stock price closed only $0.08 higher – a 0.225% change that is undisputedly

insignificant per the SEC’s event study expert John Griffin, the JSF, and AT&T’s



144 See ECA, Local 134 IBEW Joint Pens. Tr. of Chi. v. JP Morgan Chase Co., 553 F.3d 187, 204-05 (2d
Cir. 2009) (“Here, the five percent numerical threshold is a good starting place for assessing the
materiality of the alleged misstatement”); In re Aceto Corp. Secs. Litig., No. 18-CV-2425-ERK, 2019
WL 3606745, at *4 (E.D.N.Y. Aug. 6, 2019) (less than 5% of earnings “presumed” immaterial); In re
Lone Pine Res., Inc., No. 12 CIV. 4839 GBD, 2014 WL 1259653, at *4 (S.D.N.Y. Mar. 27, 2014) (“An
omission or misstatement that has an impact of less than 5% on a company's reported financial metrics
is presumptively immaterial.”).
145 ECA, 553 F.3d at 204-05 (affirming Rule 12 dismissal on materiality grounds where alleged

misstatement fell below 5% threshold and where alleged qualitative factors failed to show materiality).
146 See supra at 5-6.
147 Information can be “important” without being material. See Kuebler v. Vectren Corp., No. 18-CV-

00113 RLY, 2018 WL 4003626, at *3 (S.D. Ind. Aug. 22, 2018) (“[J]ust because a piece of information
is important does not necessarily mean it is material.”); Himmel v. Bucyrus Intern., Inc., No. 10-C-
1104, 2014 WL 1406279, at *17 (E.D. Wisc. Apr. 11, 2014) (“Moreover, omitted facts are not material
simply because some shareholders may find the information helpful.”).

                                                  32
experts—after AT&T announced a similar fourth quarter 2015 revenue miss on

January 26, 2016, that was publicly attributed to the same declining upgrade trend.

AT&T has submitted event studies from two experts establishing that neither the

fourth quarter 2015 “revenue miss” nor the subsequent publication of updated

analyst reports after the calls at issue caused any significant stock price effect.148

        Nor did the analysts view the information as material. The alleged selective

disclosures did not cause analysts to change their buy, sell or hold recommendations

or price targets for AT&T. 149 Consensus earnings-per-share forecasts likewise

remained materially the same.150 None of the analysts told their compliance or legal

departments, or anyone else, that they believed AT&T told them material nonpublic

information. Analyst after analyst testified in their depositions that they viewed

equipment revenue as “pass-through,” immaterial, and/or not important to their

evaluation of AT&T.151 As one UBS analyst aptly summarized,

              Q.    Explain to the ladies and gentlemen of the jury why you,
        as an analyst of 20-plus years covering AT&T, wouldn't think this is
        material?”

               A.    “Because I would, that is probably going to have if, if
        wireless equipment revenue is down 20 percent, probably my cost of
        equipment is going to be down a similar amount, and there will be no
        change to my EBITDA or EPS estimates that really drive my price
        target and recommendation on the day.”

              Q.     “In your mind, as an analyst working the numbers, doing
        the analysis here, even if someone told you, "I think equipment revenue



148 See supra at 12-13.
149 See Allen Decl. at ¶¶ 8, 58-59, 77; see e.g., Ferrell Decl., Ex. 1 at ¶¶ 14(b), 14(c)(vi)(Figure 1), 17, 22,
27, App. E.
150 See Allen Decl. at ¶¶ 8, 57; see e.g., Valentine Decl., Ex. 1 at ¶¶ 59, 104-117.
151 See supra at 201-325.


                                                      33
       is going to be down 20 percent," to you that wouldn't be material,
       because it's going to be offset by declining costs?”

               A.      “That's right.”152

       There is also no competent evidence that a reasonable investor could predict

how many customers would buy wireless services based on changes in upgrades rates

or equipment revenue, or that a reasonable investor could otherwise predict anything

material about AT&T’s future profitability or growth based on such changes. The

number of “bring your own device” customers who purchased wireless plans without

buying a phone from AT&T was growing rapidly. Customers on unsubsidized

installment plans likewise routinely remained on their AT&T wireless plans after

paying off their device. Whether customers upgraded their phones did not materially

affect whether they were likely to keep their wireless plans.153

       SEC expert John Griffin admitted that the alleged selective disclosures did

not produce systematic changes to analysts’ published estimates of churn (a

measurement of customers leaving AT&T), gross adds (a measurement of new

wireless plans sold), or ARPU (the average revenue per user). 154 By the SEC’s

admission, the upgrade rate and equipment revenue at issue did not correlate with

changes in other metrics that could potentially be relevant to investors, let alone at

a magnitude sufficient to be material. And even if an analyst could identify such a

correlation, the SEC concedes that a company “would not be conveying [material]

information if it shared seemingly inconsequential data which, pieced together with


152 SOF at ¶ 62; Krumholz Decl., Ex. 16, Levi, Batya, UBS Dep. Tr. at 97:3-97:25.
153 See supra at 19.
154 SOF at ¶ 89; Krumholz Decl., Ex. 9, Griffin Expert Report at ¶ 45.


                                                 34
public information by a skilled analyst with knowledge of the issuer and the industry,

helps form a mosaic that reveals material nonpublic information.” 155 There is no

record evidence showing any correlation between upgrade rates, equipment revenues,

and other metrics, and any SEC argument to the contrary is foreclosed by the

testimony of its own expert and by the SEC’s own public guidance.

II. THE INFORMATION AT ISSUE WAS ALREADY PUBLIC

        The SEC also has not pled or adduced facts showing the information at issue

was nonpublic. Estimates and financial metrics cannot be deemed nonpublic if they

can be inferred from public information.156 Despite retaining five experts, the SEC

did not produce a single expert opinion directly rebutting the opinion by three

different AT&T experts that a reasonable investor could readily and reasonably

calculate effectively the same upgrade rates from public information by applying the

publicly disclosed year-over-year trend to the first quarter after hearing Stephens’

remarks.157 This is unsurprising. AT&T reported record-low upgrade rates of 5.8%




155 JSF at ¶ 122; Joint Ex. 15, June 4, 2010, SEC Compliance & Disclosure Interpretation: Regulation
FD at 2; see also Siebel, 384 F. Supp. 2d at 707 (“‘Regulation FD will not be implicated where an issuer
discloses immaterial information whose significance is discerned by the analyst . . . . The focus of
Regulation FD is on whether the issuer discloses material nonpublic information, not on whether an
analyst, through some combination of persistence, knowledge, and insight, regards as material
information whose significance is not apparent to the reasonable investor’”) (quoting Adopting
Release).
156 See Siebel, 384 F. Supp. 2d at 706 (holding that information is not nonpublic if “the information

available to the public provides a sufficient factual basis for a reasonable investor” to infer the
allegedly nonpublic facts); Emerson v. Mutual Fund Series Trust, 393 F. Supp. 3d 220, 248 (E.D.N.Y.
2019) (rejecting nondisclosure claim where reasonable investor could have calculated the information
“through simple arithmetic” from information they already possessed); Nguyen v. MaxPoint
Interactive, Inc., 234 F. Supp. 3d 540, 547-48 (S.D.N.Y. 2017) (“Since simple arithmetic computation
based on the information disclosed would have revealed [the necessary disclosure], it is not
substantially likely that further specific disclosure . . . would have significantly altered the total mix
of information already made available to investors”).
157 See Allen Decl. at ¶ 69; Valentine Decl., Ex. 1 at ¶¶ 148-151; Entner Decl., Ex. 1 at ¶¶ 147-56.


                                                   35
and 5.7% during the second and third quarters of 2015, followed by the lowest fourth

quarter (which historically produces higher upgrade rates than other quarters due to

increased phone sales over the holidays) since 2005. SEC expert John Griffin admits

that the “downward trend” in upgrade rates and equipment revenues “was already

known to analysts” before the calls at issue158 -- a trend AT&T and Verizon publicly

conveyed would continue at the March 8-9, 2016 conference.

       Indeed, simply applying the same 1.4% year-over-year drop that occurred from

3Q 2014 to 3Q 2015 (from 7.1% to 5.7%)159 to the 6.6% upgrade rate for the first

quarter of 2015 would yield a projected 5.2% upgrade rate for the first quarter of 2016

– substantially the same as what the analysts projected after the purported selective

disclosures. 160 There is no evidence suggesting analysts or investors had any

reasonable basis from the public record to assume upgrade rates would be higher in

the first quarter of 2016 than in those prior quarters.

       Even if analysts had estimated the same 5.8% upgrade rate for 1Q 2016 as

experienced in 2Q 2015 (or the same 5.7% upgrade rate as in 3Q 2015), the SEC has

supplied no evidence that the difference between a 5.8% upgrade rate and a 5%

upgrade rate is material. There is no evidence showing it would be reasonable to

forecast a higher upgrade rate than 5.8%, given that the conditions leading to those

prior low upgrade rates had not reversed. In fact, SEC expert DiBucci testified that

this range of upgrade rates would lead to a reduction in revenue of less than 1.5% of


158 See SOF at ¶ 40; Krumholz Decl., Ex. 5, Griffin Rebuttal Report at ¶ 50.
159 The last quarter that was not impacted by holiday sales.
160 See Entner Decl., Ex. 1 at ¶ 85, Figure 6 (showing historical publicly disclosed upgrade rates and

citing to analyst reports disclosing same).

                                                 36
AT&T’s consolidated revenues and would have a similarly minimal impact on

earnings even using his numbers.161 It is no wonder the SEC’s experts declined to join

issue on this front. The equipment revenue decline in the first quarter was likewise

immaterially different from the equipment revenue decline that occurred in the

fourth quarter, such that applying the same number in the first quarter would not

produce a materially different forecast than what was allegedly selectively disclosed.

       Lastly, while the alleged selective disclosures were immaterial and already

public from the inception, they were clearly public after UBS published the first

updated report on March 18, 2016. Information disclosed in analyst reports is public

information.   162   The Second Circuit has applied jury instructions in material

nonpublic information cases stating that “[s]ometimes a corporation is willing to

make information available to securities analysts . . .even though it may never have

appeared in any newspaper publication or other publication. Such information

would be public.”163 At the very least, AT&T is entitled to summary judgment for

any claims based on calls that occurred after publication of the March 18 UBS report.

III.   DEFENDANTS DID NOT ACT WITH SCIENTER

       The SEC likewise cannot raise a triable issue on scienter. When it adopted

Regulation FD, the SEC took pains to emphasize that it would not and could not bring

an enforcement action unless the alleged selective disclosures were not only material


161 See SOF at ¶¶ 80-88; Krumholz Decl., Ex. 21, DiBucci Dep. Tr. at 120:09-126:23.
162 See Allen Decl. at ¶ 47; Dingee v. Wayfair Inc., No. 15-CV-6941, 2016 WL 3017401, at *4 (S.D.N.Y.
May 24, 2016) (treating analyst reports as “publicly available”); Chipman v. Aspenbio Pharma, Inc.,
No. 11-CV-00163 REB, 2012 WL 4069353, at *6 (D. Colo. Sept. 17, 2012) (“[P]laintiff fails to provide
any authority suggesting independent analysts’ reports should not be considered part of the total mix
of information available”).
163 U.S. v. Contorinis, 692 F.3d 136, 142 (2d Cir. 2012) (emphasis added).


                                                 37
and nonpublic, but were made “intentionally,” which it described as a standard

requiring a court or jury to conclude that “no reasonable person under the

circumstances” could believe the disclosed information was immaterial or already

public. 164 Under Regulation FD’s plain language, there is no liability unless “the

person making the disclosure either knows, or is reckless in not knowing, that the

information he or she is communicating is both material and nonpublic.” 165 The

Adopting Release noted that the recklessness standard mirrors the recklessness

required for securities fraud actions under SEC Rule 10b-5, a stringent requirement

this Court has frequently applied. 166 Under Supreme Court precedent, surviving

summary judgment on scienter is necessarily more difficult than the already-rigorous

“strong inference” test for private Rule 10b-5 class actions.167


164 See Joint Ex. 13a-d, Adopting Release at ATTINC-00417471.
165 See 17 C.F.R. § 243.101(a). In the case of an unintentional selective disclosure of material nonpublic
information, the company must publicly disclose the information within 24 hours after a senior official
at the company “knows, or is reckless in not knowing” that the information is “both material and
nonpublic.” See id. § 243.101(d). Thus, there can be no liability unless the person making the disclosure
or a senior official at AT&T knew or was reckless in not knowing that the allegedly disclosed
information was both material and nonpublic. The SEC’s Complaint alleges that the Individual
Defendants acted intentionally in making the disclosures. (See Dkt. No. 1 at ¶¶ 138-39.) Accordingly,
it does not appear the SEC is contending that AT&T is liable because of an unintentional disclosure
of material nonpublic information that triggered a subsequent duty to make a disclosure within 24
hours, though any such claim would fail for the same reasons asserted in this Memorandum.
166 Joint Ex. 13a-d, Adopting Release at ATTINC-00417472; see, e.g., Gregory v. ProNAi Therapeutics

Inc., 297 F. Supp. 3d 372, 414, 417 (S.D.N.Y. 2018) (Engelmayer, J.) (dismissing Section 10(b)
complaint on scienter grounds despite finding “one set of statements materially misleading,” noting
that “it does not follow that [the disclosure] was a reckless act as opposed to an errant lapse”), aff’d,
757 F. App’x 35 (2d Cir. 2018); Gillis v. QRX Pharma Ltd., 197 F. Supp. 3d 557, 599-606 (S.D.N.Y.
2016) (Engelmayer, J.) (dismissing Section 10(b) claim on scienter grounds even assuming arguendo
that one statement was materially misleading).
167 While the “strong inference” pleading standard requires only that a reasonable person deem the

inference of scienter equal to any competing inference of a less culpable state, the SEC must show
that a reasonable jury can find the inference of scienter is greater than any competing inference. And
they are certainly insufficient for a reasonable jury to find the scienter needed for a Regulation FD
claim, which poses a more difficult test for the SEC on summary judgment than the familiar “strong
inference” pleading test poses for private litigants in Rule 10b-5 suits. See Tellabs, Inc. v. Makor Issues
& Rights, Ltd., 551 U.S. 308, 326, 328-29 (2007) (discussing how preponderance standard is higher
than “strong inference” standard).

                                                    38
        The SEC made these assurances and adopted this rigorous scienter

requirement in part to address public concerns that Regulation FD could chill

legitimate communications, which in turn could limit the flow of information to

investors while unduly restricting companies’ freedom of speech. As promised in the

SEC’s Adopting Release, “issuers will not be second-guessed on close materiality

judgments” or “mistaken materiality determinations that were not reckless.”168 As a

matter of common sense and under Second Circuit law, and as acknowledged in the

Adopting Release for Regulation FD, a person cannot “know” or be “reckless in not

knowing” that information is material or nonpublic if reasonable minds could view

the information as either immaterial or already public. In other words, facts must

actually exist to permit a reasonable person to “know” with reasonable certainty that

the information is material nonpublic information. Otherwise, a person could not be

deemed reckless for not “knowing” such facts.169


168 See Joint Ex. 13a-d, Adopting Release at ATTINC-00417467. All three individual Defendants

testified that they did not believe the information at issue was material or nonpublic, given (among
other things) the lack of impact on profits, the lack of stock price reaction after the fourth quarter 2015
miss, and the lack of analyst concern over the metrics. [CITE DECLARATIONS OR SOF]
169 See Kalnit v. Eichler, 264 F.3d 131, 144 (2d Cir. 2001) (holding that because complaint “does not

present facts indicating a clear duty to disclose, plaintiff’s scienter allegations do not provide strong
evidence of conscious misbehavior or recklessness”); Malik v. Network 1 Fin. Secs., Inc., No. 20-2948-
CV, 2022 WL 453439, at *3 (2d Cir. Feb. 15, 2022) (repeating same proposition); In re Bank of Am.
AIG Disclosure Secs. Litig., 980 F. Supp. 2d 564, 586 (S.D.N.Y. 2013) (holding that if “reasonable minds
could differ” on whether information was already public, it “precludes scienter because reckless
conduct must be ‘highly unreasonable’. . . .’”), aff’d, 566 Fed.Appx. 93 (2d. Cir. 2014); In re GeoPharma,
Inc. Secs. Litig., 411 F. Supp. 2d 434, 448 (S.D.N.Y. 2006) (“To infer scienter from an arguably material
omission, in the face of allegations that cut against such an inference, and in the absence of valid
motive allegations, would be to expand the anti-fraud provisions of the securities laws beyond their
intended scope.”); Sanders v. AVEO Pharm., Inc., No. 13-11157-DJC, 2015 WL 1276824, at *10 (D.
Mass. Mar. 20, 2015) (no scienter when sufficiency of public disclosures is “at least debatable”); In re
Take-Two Interactive Secs. Litig., 551 F. Supp. 2d 247, 281 (S.D.N.Y. 2008) (no scienter where
statement reflected a “reasonable resolution of ambiguous regulatory language” and not “a reckless or
knowing falsehood”); In re Loral Space & Communs. Ltd. Secs. Litig., No. 01 CIV. 4388 JGK, 2004 WL
376442, at *11 (S.D.N.Y. Feb. 27, 2004) (“To plead scienter, the information alleged to be contradictory


                                                    39
      No reasonable jury could find from the allegations or evidence in this case that

the alleged selective disclosures were so indisputably material and nonpublic that “no

reasonable person under the circumstances” could believe otherwise. As stated above

and below, Defendants and investors plainly had reasonable grounds to view the

information as both immaterial and already public, including the absence of a stock

price reaction when a similar revenue miss was disclosed the prior quarter; Stephens’

public statements (and sworn testimony) that the declining equipment revenue had

“very little impact on profitability;” analysts consistently treating upgrade rates and

equipment revenues as having little impact on profitability; the non-core nature of

smartphone sales; the absence of any clear connection between upgrade rates,

equipment revenues, and EPS, churn, ARPU, gross adds, or any other conceivably

material metric (let alone with any magnitude that could be considered material);

and the testimony by multiple analysts (including both of the UBS analysts who

issued the first updated report on March 18, 2016) that they viewed equipment

revenue and upgrade rates as immaterial. Multiple analysts, as well as Bloomberg,

publicly characterized Stephens’ March 9, 2016 remarks as clearly conveying that the

slower upgrade trend was continuing in the first quarter. The SEC’s accounting

expert DiBucci admitted that the upgrade rates and equipment revenue declines at

issue in this litigation had far less than a 5% impact on AT&T’s revenues and




must suggest that the defendants knew, or were reckless in not knowing, that the subscriber
projections were false or without any reasonable basis”).

                                            40
earnings, a point that AT&T expert Lucy Allen also made without rebuttal based on

DiBucci’s own calculations,170 and which DiBucci conspicuously failed to rebut.171

        In short, allowing the SEC to proceed to trial on a record as weak as this, where

reasonable minds can clearly conclude the information was immaterial or already

public, would effectively nullify the scienter requirement in Regulation FD cases. It

would undo the SEC’s official public pronouncements that it would not and could not

bring Regulation FD cases unless the materiality determination is clear-cut in the

SEC’s favor. And it would multiply the significant constitutional concerns about

unduly chilling legitimate speech that are already posed by Regulation FD’s text. The

Court should grant judgment on the pleadings or summary judgment for AT&T.

        As an alternative to summary judgment, the Court should grant judgment on

the pleadings because the Complaint itself pleads no facts showing a material

nonpublic statement or scienter. The Complaint pleads no facts showing that the

stock price reacted to the information published in the analyst reports after the

selective disclosures, that the information at issue was quantitatively or qualitatively

material, or that the disclosure of the information was made with scienter.

IV.REGULATION FD LACKS STATUTORY AUTHORITY

        The claims also fail because the SEC lacked authority to promulgate

Regulation FD. Agencies cannot rely on generalized legislative policies as a source of



170 See supra at 18, 35; Allen Decl. at ¶ 82.
171 While DiBucci unconvincingly criticizes the second part of Allen’s opinion in Paragraph 82 – i.e.,
that the analysts made much smaller changes to EPS forecasts than even DiBucci’s numbers would
suggest – he glaringly fails to take issue with Allen’s opinion in the first part of that paragraph, which
is that using DiBucci’s own numbers would produce an EPS change of at most $0.020-$0.027 (less than
5% of AT&T’s EPS that quarter).

                                                   41
regulatory authority. 172 An agency’s determination that it has authority to issue

regulations or restrict certain types of conduct is likewise not entitled to deference

“absent a delegation of authority from Congress to regulate in the areas at issue.”173

       As in Siebel, the SEC asserted in its pre-motion response letter (Dkt. No. 69 at

3) that it had authority to promulgate Regulation FD under Section 13(a) of the

Securities Exchange Act, the only statutory claim pled in the Complaint. That

assertion is unsupportable. Section 13(a) requires companies to file with the SEC:

               (1)    such information and documents (and such copies thereof)
       as the Commission shall require to keep reasonably current the
       information and documents required to be included in or filed with
       an application or registration statement filed pursuant to
       section 78l of this title, except that the Commission may not require
       the filing of any material contract wholly executed before July 1, 1962.

               And

              (2)   such annual reports (and such copies thereof), certified if
       required by the rules and regulations of the Commission by independent
       public accountants, and such quarterly reports (and such copies thereof),
       as the Commission may prescribe.174

Neither of these prongs authorizes the SEC to require companies to make

simultaneous disclosures of all material nonpublic information disclosed to an

analyst, let alone the specific information at issue here.




172 See Board of Governors of the Fed. Reserve Sys. v. Dimension Fin. Corp., 474 U.S. 361, 373-74 (1986)
(plain language of the statute governs and an agency may not rely on the “policy of the legislation as
a whole”); Checkosky v. SEC, 23 F.3d 452, 469 (D.C. Cir. 1994) (Randolph, J., writing separately)
(noting that the “necessary or appropriate” language in Exchange Act does not expand the
Commission’s authority to promulgate rules beyond what the substantive provisions of the Act
provide).
173 Motion Picture Ass’n of Am., Inc. v. FCC, 309 F.3d 796, 801 (D.C. Cir. 2002) (emphasis in original).
174 15 U.S.C. § 78m(a)(1) and (2) (emphasis added).


                                                  42
       The first prong, Section 13(a)(1), pertains only to “information and documents

required to be included in or filed with an application or registration statement. . . .”

There is no allegation that the information at issue here had any bearing on any

“application” or “registration statement” filed by AT&T, much less that the filing of

such information would “keep current” the information required in any AT&T

“application” or “registration statement.” There is certainly no allegation that the

disclosures here formed part of any application or registration statement or could

possibly give rise to liability under Section 11 of the Securities Act. Regulation FD

thus is vastly broader than the authority conferred by Section 13(a)(1), both on its

face and as applied to this case. It is not limited to information required in an

application or registration statement, but purports to cover any material nonpublic

information disclosed to an analyst, regardless of whether it is required in an

application or registration statement. This prong cannot sustain Regulation FD.

       The second prong, Section 13(a)(2), pertains to “annual” and “quarterly”

reports. In no way does Section 13(a)(2) purport to require continuous disclosure of

material nonpublic information outside the traditional quarterly reporting process.

       The SEC has thus failed to identify any statutory grant of authority that

authorized it to promulgate Regulation FD. The Supreme Court previously held that

the SEC may not formulate “an absolute equal information rule” “absent some

explicit evidence of congressional intent,” and that Section 10(b) did not give rise to

any such rule.175 If the Supreme Court could not find authority for an “absolute equal


  See Dirks v. SEC, 463 U.S. 646, 657 n. 16 (1983) (quoting Chiarella v. United States, 445 U.S. 222,
175

233 n.16 (1980)).

                                                 43
information rule” in Section 10(b)’s broad anti-fraud language, it is implausible that

Section 13(a)’s narrower language could be read as creating such authority.

V. REGULATION FD’S TEXT RENDERS IT INOPERABLE AND
   INEFFECTIVE AS A MATTER OF LAW

          This case also fails because the “duty of trust or confidence” exception renders

Regulation FD inoperable, both on its face and as applied here.

          Under Regulation FD’s text, the individual Defendants cannot have acted “on

behalf of” AT&T if their disclosures were a “breach of a duty of trust or confidence” to

the issuer, AT&T. See 17 C.F.R. § 243.101(c). But the SEC logically cannot prove that

the individual Defendants intentionally or recklessly disclosed material nonpublic

information without also establishing that the individual Defendants breached a duty

of trust or confidence to AT&T, thus rendering their conduct non-imputable to AT&T.

All three individual Defendants acknowledged in their depositions and declarations

that they were prohibited by AT&T’s policies and practices from disclosing, directly

or indirectly, internal numbers to analysts.176 Because the individual Defendants’

alleged conduct is not imputable to AT&T, there is no primary claim against AT&T

and no aiding and abetting claims against the individual Defendants.

          The SEC asserted in its pre-motion letter (Dkt. No. 69 at 4) that the “duty of

trust or confidence” exception does not apply if the individual Defendants acted

within the scope of their employment. But the cited case stands only for the general

proposition that an officer’s scienter is imputed to the corporation under Rule 10b-5,

a different rule that does not contain a similar “breach of duty” exception that


176   See supra FN 89.

                                             44
Regulation FD contains. 177 Whether an employee’s conduct is within the scope of

employment or is purportedly authorized by senior management has no bearing on

whether it breaches a duty of trust or confidence. The duty is owed “to the issuer,”

which is not senior management but the company itself.178 The SEC’s letter further

admits that employees owe duties of trust and confidence to their employers, thus

negating any argument that this phrase is somehow limited to outside parties who

acquire inside information.179 While the letter appears to assert that the exception

only applies when the disclosing party “intentionally trades or tips,” nothing in the

exception requires trading, tipping, or other financial benefits any more than

Regulation FD itself requires trading on inside information as an element.180 The

breach of a “duty of confidentiality” to one’s employer is plainly sufficient to establish

a breach of the duty of trust or confidence.181 And that, in turn, defeats any primary

or secondary claim under the exception. The SEC’s Regulation FD claim thus fails.




177 See Loreley Fin. (Jersey) No. 3 Ltd. v. Wells Fargo Secs., LLC, 797 F.3d 160, 177 (2d Cir. 2015).
178 See SEC v. Afriyie, No. 16-CV-2777 JSR, 2018 WL 6991097, at *2 (S.D.N.Y. Nov. 26, 2018), aff’d,
788 Fed.Appx. 59 (2d. Cir. 2019) (noting that the duty can be “owed directly, indirectly or derivatively
to the issuer”).
179 See Dkt. No. 69 at 4 (stating that the exception “was intended to carve out” instances “where an

employee abuses his insider position and the duties owed to the corporation by misusing material
nonpublic information for his personal benefit”) (emphasis added).
180 The SEC’s counsel repeatedly emphasized during the deposition of former SEC Commissioner Paul

Atkins that the text of Regulation FD does not require trading as an element. See Krumholz Decl., Ex.
36, Atkins Dep. Tr. at 94:4-7, 112:19-113:1. But nothing in the text of the “trust or confidence”
exception requires trading either. The SEC cannot have it both ways.
181 See SEC v. Afriyie, 2018 WL 6991097, at *2 (“The operative allegation [by the SEC] is that Afriyie

breached a duty of confidentiality to his employer, MSD, which encompassed MSD's interactions with
Apollo, not that he breached a separate duty of confidentiality to Apollo. And the complaint contains
ample allegations that Afriyie owed and breached this duty”).

                                                  45
VI.REGULATION FD IS UNCONSTITUTIONAL

       While summary judgment is proper on numerous other grounds, Regulation

FD cannot withstand an as-applied constitutional challenge under the First and Fifth

Amendments.         Multiple     commentators         have     questioned      Regulation       FD’s

constitutionality, both facially and as applied to different facts.182

       Because Regulation FD is a content-based restriction (i.e., it only applies to

material nonpublic information affecting a company’s business or stock price, rather

than to other topics), it is subject to strict scrutiny.183 Strict scrutiny also applies

because Regulation FD imposes a compelled-speech obligation, requiring companies

to make a public disclosure following any private communication with an analyst

made in violation of Regulation FD’s content-based restriction. 184 Under strict

scrutiny, a governmental restriction on speech must fail unless it is narrowly tailored

to advance a compelling government interest. 185 Even if intermediate scrutiny

applied, Regulation FD cannot proscribe communications with analysts more than

necessary to “directly” advance a “substantial” government interest.186 A restriction




182 See Antony Page and Katy Yang, Controlling Corporate Speech: Is Regulation Fair Disclosure
Unconstitutional?, 39 U.C. Davis L. Rev. 1, 8 (arguing that Regulation FD “should not survive a First
Amendment challenge”); Susan B. Heymann, Rethinking Regulation Fair Disclosure and Corporate
Free Speech, 36 Cardozo L. Rev. 1099, 1134 (“the constitutionality of [Regulation] FD is questionable
at best”); Joseph A. Grundfest, Regulation FD in the Age of Facebook and Twitter: Should the SEC Sue
Netflix? (Stanford Law Sch. Rock Ctr. For Corp. Governance, Working Paper Series No. 131, 2013, at
4) (arguing that “Regulation FD is vulnerable as an unconstitutional restraint on truthful speech,
particularly as applied on the facts of this case”).
183 See First Nat’l Bank of Boston v. Bellotti, 435 U.S. 765, 786 (1978).
184 See Pac. Gas & Elec. Co. v. Public Utils. Comm’n of Cal., 475 U.S. 1, 8-21 (1986).
185 See id. at 19.
186 See Cent. Hudson Gas & Elec. Corp. v. Pub. Serv. Comm’n of N.Y., 447 U.S. 557, 564, 570-71 (1980);

Nat’l Ass’n of Mfrs. v. SEC, 748 F.3d 359, 372-73 (D.C. Cir. 2014) (finding SEC conflict minerals rule
unconstitutional), subsequent opinion after reh’g, 800 F.3d 518, 522 (D.C. Cir. 2015) (affirming prior
judgment and distinguishing intervening Supreme Court authority).

                                                 46
will not survive intermediate scrutiny if the government fails to present evidence that

a less restrictive rule would fail to achieve the interest at stake.187

       Regulation FD fails under either standard of review. Unlike other provisions

of the securities laws that directly prohibit false statements, market manipulation

and insider trading, Regulation FD does not target conduct that is inherently

deceptive, manipulative, fraudulent, or which results in insider trading, which is

already prohibited. Regulation FD instead applies to truthful speech, and it applies

regardless of whether the recipients are likely to trade on it or not.188 The government

“may not suppress lawful speech as the means to suppress unlawful speech.”189 While

Judge Daniels did not need to reach the constitutional issues raised in Siebel, he

expressed concern that the SEC’s overly broad application of Regulation FD “has a

potential chilling effect” on public disclosures.190

       This case illustrates why Regulation FD cannot withstand strict or

intermediate scrutiny. There is no substantial or compelling government interest to

be achieved by preventing companies from disclosing truthful information to analysts

who are already prohibited from trading on material nonpublic information – and

certainly no substantial or compelling government interest that would warrant

prohibiting AT&T from disclosing the specific information that AT&T’s IR team


187 See Nat’l Ass’n of Mfrs, 748 F.3d at 372.
188 See 17 C.F.R. 243.100(b); see Safelite Grp., Inc. v. Jepsen, 764 F.3d 258, 264-65 (2d Cir. 2014)
(enjoining Connecticut law compelling company to make disclosures regarding competitors, and noting
that there were no allegations that the statements triggering the obligation were false, misleading, or
otherwise illegal).
189 Ashcroft v. Free Speech Coal., 535 U.S. 234, 255 (2002); see also Safelite, 764 F.3d at 265-66

(observing that government may not burden substantially more speech than necessary and that
existing law already protected meaningful consumer choice).
190 Siebel, 384 F. Supp. 3d at 701-03, 708.


                                                  47
allegedly selectively disclosed in this case. Nor is there any evidence that the SEC’s

objectives cannot be achieved through less restrictive means. There is no allegation

that any investors reaped unfair profits based on the disclosures, which would have

been swiftly incorporated into the stock price (making it exceedingly unlikely from an

economic perspective that investors could profit from receiving the information before

others).191 Companies have a legitimate interest in making sure analysts understand

their business and prior public disclosures before publishing reports about them. Just

as the government cannot restrict ordinary citizens from speaking with reporters to

provide their side of the story before an article is published, companies should not be

required to sit back and let analysts publish erroneous forecasts or information. Nor

should companies be required to file a Form 8-K every time they have a private

discussion with an analyst in which anything arguably material is discussed.

       As the Adopting Release made clear, the SEC itself understood the

constitutional implications of requiring companies to conduct a fact-specific

materiality analysis every time they conversed with an analyst, which is why the

SEC made such broad public assurances that it will only pursue clear-cut violations

made with scienter. 192 Yet in Siebel, and again here, the SEC has inexplicably

departed from these assurances. The SEC’s inconsistent positions in these suits

confirm that Regulation FD is unconstitutional and chills protected speech.




191
  See SOF at ¶ 18.
192See Joint Ex. 12, Proposed Rule at II.B.2 (recognizing that “[c]orporate officials may therefore
become more cautious in communicating with analysts” if materiality is the only test).

                                                48
       For similar reasons, Regulation FD also violates the Fifth Amendment’s due

process clause. The government must provide clear notice of what conduct is

prohibited.193 As set forth above, the text of Regulation FD, as well as the SEC’s

conflicting public positions, failed to provide AT&T with fair notice of what conduct

is actually prohibited and has a chilling effect on protected speech.

       Accordingly, Regulation FD is constitutionally invalid. At a minimum, to the

extent Regulation FD is salvageable at all, the Court should construe the materiality

and scienter requirements in a manner sufficiently rigorous to avoid abridging or

chilling AT&T’s constitutional rights and the rights of other companies, investor

relations professionals and analysts affected by Regulation FD.194

       The Court should thus grant summary judgment for AT&T.




193 See City of Chicago v. Morales, 527 U.S. 41, 56 (1999); Grayned v. City of Rockford, 408 U.S. 104,
108-09 (1972)); see also Baggett v. Bullitt, 377 U.S. 360, 372 (1964) (holding that vague statutes cause
citizens to “‘steer far wider of the unlawful zone than if the boundaries of the forbidden areas were
clearly marked,’” and that “[f]ree speech may not be so inhibited”) (quoting Speiser v. Randall, 357
U.S. 513, 526 (1958)).
194 See Edward J. DeBartolo Corp. v. Fla. Gulf Coast Bldg. & Constr. Trades Council, 485 U.S. 568,

575 (1988) (narrowly construing statute to avoid a First Amendment violation).

                                                  49
  Dated March 3, 2022

NORTON ROSE FULBRIGHT US LLP                WILLKIE FARR AND
                                            GALLAGHER LLP


_______________________________             Randall Jackson
Richard S. Krumholz                         Brittany Wagonheim
2200 Ross Avenue, Suite 3600                787 Seventh Avenue
Dallas, Texas 75201                         New York, NY 10019
Tel: (214) 855-8000                         Tel: (212) 728-8216
Fax: (214) 855-8200                         Fax: (212) 728 9216
richard.krumholz@nortonrosefulbright.com    rjackson@willkie.com
                                            bwagonheim@willkie.com
Peter A. Stokes (pro hac vice)
98 San Jacinto Boulevard, Suite 1100
Austin, Texas 78701
Tel: (512) 536-5287
Fax: (512) 536-4598
peter.stokes@nortonrosefulbright.com

Seth M. Kruglak
Victoria V. Corder
1301 Avenue of the Americas
New York, New York 10019
Tel: (212) 318-3000
Fax: (212) 318-3400
seth.kruglak@nortonrosefulbright.com
victoria.corder@nortonrosefulbright.com

                        Attorneys for Defendant AT&T, Inc.




                                       50
                       CERTIFICATION OF SERVICE

      I certify that on May 3, 2022, a copy of the foregoing was filed with the Court’s

electronic case filing system, thereby effecting service on all Counsel of Record.


                                 _/s/ Peter A. Stokes___________
                                   Peter A. Stokes
